           Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 1 of 70




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


In re:                                                                Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                    Case No. 24-90533 (ARP)


                                         Debtors.                     (Joint Administration Requested)


 DEBTORS’ EMERGENCY MOTION FOR ENTRY OF ORDERS (I)(A) APPROVING
   THE BIDDING PROCEDURES FOR THE SALE OF THE DEBTORS’ ASSETS,
 (B) APPROVING ENTRY INTO A STALKING HORSE PURCHASE AGREEMENT
FOR THE RECOVERY SOLUTIONS ASSETS, (C) AUTHORIZING THE RECOVERY
   SOLUTIONS EXPENSE REIMBURSEMENT, (D) AUTHORIZING POTENTIAL
     SELECTION OF STALKING HORSE BIDDERS FOR THE CORRECTIONS
          ASSETS AND APPROVING RELATED CORRECTIONS ASSET(S)
  BID PROTECTIONS, (E) ESTABLISHING RELATED DATES AND DEADLINES,
     (F) APPROVING THE FORM AND MANNER OF NOTICE THEREOF, AND
     (G) APPROVING THE ASSUMPTION AND ASSIGNMENT PROCEDURES,
         (II)(A) APPROVING THE SALE OF THE DEBTORS’ ASSETS FREE
      AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES
  (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF

    Emergency relief has been requested. Relief is requested not later than 1:00 p.m.
    (prevailing Central Time) on November 18, 2024.
    If you object to the relief requested or you believe that emergency consideration is not
    warranted, you must appear at the hearing if one is set, or file a written response prior to
    the date that relief is requested in the preceding paragraph. Otherwise, the Court may
    treat the pleading as unopposed and grant the relief requested.
    A hearing will be conducted on this matter on November 18, 2024, at 1:00 p.m. (prevailing
    Central Time) in Courtroom 400, 4th floor, 515 Rusk Street, Houston, Texas 77002.
    Participation at the hearing will only be permitted by an audio and video connection.
    Audio communication will be by use of the Court’s dial-in facility. You may access the
    facility at (832) 917-1510. Once connected, you will be asked to enter the conference room
    number. Judge Perez’s conference room number is 282694. Video communication will be

1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
      claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11
      cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
           Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 2 of 70




    by use of the GoToMeeting platform. Connect via the free GoToMeeting application or
    click the link on Judge Perez’s homepage. The meeting code is “JudgePerez”. Click the
    settings icon in the upper right corner and enter your name under the personal
    information setting.
    Hearing appearances must be made electronically in advance of both electronic and in
    person hearings. To make your appearance, click the “Electronic Appearance” link on
    Judge Perez’s homepage. Select the case name, complete the required fields and click
    “Submit” to complete your appearance.

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this emergency motion (this “Motion”): 2

                                             Preliminary Statement

          1.       On November 11, 2024, the Debtors entered into that certain Restructuring Support

Agreement (the “RSA”), by and among the Debtors and the Consenting Stakeholders, that

provides for an expedited sale for the Recovery Solutions Assets (as defined below) followed by

(assuming a Consolidated Asset Sale does not occur) two paths to a comprehensive restructuring


2
      The facts and circumstances supporting this Motion are set forth in the (a) Declaration of Timothy J. Dragelin as
      Chief Restructuring Officer and Chief Financial Officer of Wellpath Holdings, Inc. and Certain of its Affiliates
      and Subsidiaries in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day
      Declaration”) filed contemporaneously herewith and incorporated by reference herein, (b) Declaration of
      Christian Tempke in Support of Debtors’ Emergency Motion for Entry of Orders (I)(A) Approving The Bidding
      Procedures for the Sale of the Debtors’ Assets, (B) Approving Entry into a Stalking Horse Purchase Agreement
      for The Recovery Solutions Assets, (C) Authorizing the Recovery Solutions Expense Reimbursement,
      (D) Authorizing Potential Selection of Stalking Horse Bidders for the Corrections Assets and Approving Related
      Corrections Asset(s) Bid Protections, (E) Establishing Related Dates and Deadlines, (F) Approving the Form and
      Manner of Notice Thereof, and (G) Approving the Assumption and Assignment Procedures, (II)(A) Approving the
      Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances (B) Authorizing the
      Assumption and Assignment of Executory Contracts and Unexpired Leases, and (III) Granting Related Relief
      (the “Tempke Declaration”), which is attached hereto as Exhibit A and incorporated by reference herein, and
      (c) Declaration of Jason Schoenholtz in Support of Debtors’ Emergency Motion for Entry of Orders
      (I)(A) Approving The Bidding Procedures for the Sale of the Debtors’ Assets, (B) Approving Entry into a Stalking
      Horse Purchase Agreement for The Recovery Solutions Assets, (C) Authorizing the Recovery Solutions Expense
      Reimbursement, (D) Authorizing Potential Selection of Stalking Horse Bidders for the Corrections Assets and
      Approving Related Corrections Asset(s) Bid Protections, (E) Establishing Related Dates and Deadlines,
      (F) Approving the Form and Manner of Notice Thereof, and (G) Approving the Assumption and Assignment
      Procedures, (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and
      Encumbrances (B) Authorizing the Assumption and Assignment of Executory Contracts and Unexpired Leases,
      and (III) Granting Related Relief] (the “Schoenholtz Declaration”), which is attached hereto as Exhibit B and
      incorporated by reference herein. Capitalized terms used but not otherwise defined herein shall have the meanings
      ascribed to them in the First Day Declaration, the Tempke Declaration, the Schoenholtz Declaration, or the RSA
      (as defined below), as applicable.



                                                           2
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 3 of 70




of the Corrections Assets (as defined below) pursuant to a chapter 11 plan: an equitization

restructuring (an “Equitization Restructuring”) or a sale of all, substantially all, or a material

portion of the Corrections Assets (a “Corrections Asset(s) Sale Transaction”).

        2.      To that end, prior to commencing these chapter 11 cases, the Debtors and their

advisors conducted a robust and multi-month marketing process for the sale of the assets associated

with the Debtors’ business and operations in its behavioral health division, Recovery Solutions

(the “Recovery Solutions Assets”) that commenced in April 2024. As contemplated in the RSA,

on November 11, 2024, the Debtors and Recovery Solutions Stalking Horse Bidder (as defined

below) entered into the Recovery Solutions Stalking Horse Agreement (as defined below) for the

sale of substantially all of the Recovery Solutions Assets. The Recovery Solutions Stalking Horse

Agreement is subject to higher or otherwise better offers pursuant to the post-petition marketing

process described herein and, therefore, will only enhance the Debtors’ continued marketing

process by attracting competitive offers to ensure a value-maximizing transaction for the Recovery

Solutions Assets.

        3.      To the extent that the foregoing Sale Transaction (as defined herein) does not

involve a sale of all or substantially all of the Assets (as defined herein) (a “Consolidated Asset

Sale”), the Debtors will continue marketing all of the Debtors’ remaining assets, if applicable,

following the Recovery Solutions / Consolidated Sale Transaction (the “Corrections Assets”).

The Bidding Procedures (as defined below) will afford the Debtors the flexibility to market

substantially all of the Corrections Assets to Potential Bidders (as defined below) to maximize the

value of the Debtors’ estates for the benefit of all parties in interest.

        4.      The Debtors believe that the proposed timeline for the post-petition marketing

process, though expeditious, constitutes a reasonable schedule that provides sufficient time to




                                                    3
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 4 of 70




continue canvassing the market for Potential Bidders or plan sponsors and is appropriate under the

circumstances. Given, among other things, that the Debtors will accrue considerable expenses the

longer these chapter 11 cases remain open, it is essential that the Debtors consummate value-

maximizing restructuring transactions and promptly emerge from chapter 11.

                                                 Relief Requested

        5.        By this Motion, and pursuant to sections 105(a), 363, 365, 503, and 507 of title 11

of the United States Code (the “Bankruptcy Code”) and rules 2002, 6004, 6006, and 9007 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors request entry of the

following:


                  (a)      an order, substantially in the form attached hereto (the “Bidding Procedures
                           Order”),

                         i. authorizing and approving the bidding procedures, substantially in the
                            form attached to the Bidding Procedures Order as Exhibit 1, as otherwise
                            modified by the Debtors in accordance with the bidding procedures
                            (the “Bidding Procedures”), in connection with the sale of all or
                            substantially all, or individual or any combination of, the Assets (as
                            defined herein) 3 (each a “Sale Transaction”) 4;

                         ii. authorizing and approving the terms of, and the Debtors’ entry into, the
                             equity interest and asset purchase agreement by and among the Debtors
                             and RS Purchaser LLC (the “Recovery Solutions Stalking Horse Bidder”)
                             (as amended, supplemented, or otherwise modified by the parties thereto,
                             and including the disclosure schedules and exhibits attached thereto,
                             the “Recovery Solutions Stalking Horse Agreement” and, the Bid
                             contemplated thereby, the “Recovery Solutions Stalking Horse Bid”) for



3
    Notwithstanding the Debtors’ request for authorization and approval of the Bidding Procedures, the Debtors
    reserve the right to seek by separate motion, in the exercise of their sound business judgment and fiduciary duties
    (in consultation with the Consultation Parties (as defined herein)), the authority to sell assets of the Debtors’
    estates (that do not constitute all or substantially all of the Debtors’ assets) pursuant to section 363 of the
    Bankruptcy Code.
4
    As described below, the Bidding Procedures provide that there may be one or several Sale Transactions. To the
    extent that this Motion refers to the Sale Transaction, or terms related thereto, in the singular it shall include the
    plural, and vice versa.



                                                           4
Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 5 of 70




             the sale of substantially all of the Recovery Solutions Assets, substantially
             in the form attached to the Bidding Procedures Order as Exhibit 2;

         iii. approving the Recovery Solutions Expense Reimbursement (as defined
              below) for the Recovery Solutions Stalking Horse Bidder, in accordance
              with the terms and conditions set forth in the Recovery Solutions Stalking
              Horse Agreement;

         iv. authorizing, but not obligating, the Debtors to select a Corrections
             Asset(s) Stalking Horse Bidder (as defined herein);

          v. approving the Corrections Asset(s) Bid Protections (as defined below)
             that the Debtors may offer to prospective Corrections Asset(s) Stalking
             Horse Bidders, if any, in accordance with the terms and conditions set
             forth in the Bidding Procedures;

         vi. scheduling the auction(s) of the Assets (each an “Auction”) and hearings
             to consider approval of the Sale Transactions (each a “Sale Hearing”);

        vii. authorizing and approving the notice of the sale of the Assets, the Bid
             Deadlines, the Auctions, and the Sale Hearings, substantially in the form
             attached to the Bidding Procedures Order as Exhibit 3 (the “Sale
             Notice”);

        viii. authorizing and approving procedures for the assumption and assignment
              of the Contracts and the determination of Cure Costs with respect thereto
              (collectively, the “Assumption and Assignment Procedures”);

         ix. authorizing and approving notice to each relevant non-Debtor
             counterparty (each a “Counterparty”) to an executory contract or
             unexpired lease listed on the Potential Assumed Contracts Schedule (as
             defined below) (collectively, the “Contracts” and each an “Assumed
             Contract”) regarding the Debtors’ potential assumption and assignment of
             such Counterparty’s Assumed Contracts (collectively, the “Potential
             Assumed Contracts”) and the amount necessary to cure any defaults
             thereunder (the “Cure Costs”), substantially in the form attached to the
             Bidding Procedures Order as Exhibit 4 (the “Potential Assumption and
             Assignment Notice”);

          x. authorizing and approving the notice to each Counterparty listed on the
             Proposed Assumed Contracts Schedule (as defined herein), substantially
             in the form attached to the Bidding Procedures Order as Exhibit 5 (the
             “Proposed Assumption and Assignment Notice”); and




                                      5
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 6 of 70




               (b)      an order (the “Sale Order”) authorizing and approving,

                       i. any sale of the Assets free and clear of all liens, claims, interests, and
                          encumbrances, except certain permitted encumbrances as determined by
                          the Debtors and any purchaser of the Assets; and

                       ii. the assumption and assignment of the proposed Assumed Contracts
                           (collectively, the “Proposed Assumed Contracts”) in connection with any
                           proposed Sale Transaction; and

               (c)      granting related relief.

                                      Jurisdiction and Venue

       6.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012)

(Hinojosa, C.J.).

       7.      This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). In addition, the

Debtors confirm their consent to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter a final order or judgment in connection herewith consistent with Article III of the United

States Constitution.

       8.      Venue of these chapter 11 cases and related proceedings is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

                                             Background

       9.      Wellpath is the premier provider of localized, high quality, compassionate care to

vulnerable patients in challenging clinical environments. Wellpath is the leading medical and

mental health services provider in correctional facilities, inpatient and residential treatment

facilities, forensic treatment facilities, and civil commitment centers. Headquartered in Nashville,

Tennessee with operations in approximately 420 facilities across 39 states, Wellpath provides


                                                   6
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 7 of 70




outsourced solutions to the correctional healthcare and behavioral healthcare industries. Wellpath

offers an array of healthcare services to its federal, state, and local government partners, including

on-site medical services, telehealth and mental health programs, and pharmacy management.

Wellpath employs more than 13,000 people and serves nearly 200,000 patients daily. 5

        10.      On November 11, 2024 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.

        11.      Contemporaneously herewith, the Debtors have filed a motion requesting joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b) and Rule 1015-1 of

the Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District of

Texas (the “Bankruptcy Local Rules”). The Debtors are operating their businesses and managing

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made in these chapter 11

cases and no statutory committee has been appointed or designated.

                                             The Debtors’ Assets

        12.      As described more fully in the First Day Declaration, Wellpath is a vital player in

the healthcare sector, providing care to a population that often faces significant barriers to

receiving treatment. A key factor to Wellpath’s long-term success is its revenue model, which is

largely based on long-term contracts with government entities that provides stable, recurring

revenue.

        13.      The Recovery Solutions Assets constitute the operations of the Debtors’ RS

Division, which addresses behavioral health needs, focuses on patients underserved by traditional




5
    Additional information about the Debtors’ businesses and affairs, capital structure, and prepetition indebtedness,
    and the events leading up to the Petition Date, can be found in the First Day Declaration.



                                                         7
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 8 of 70




mental health services, and offers a variety of services, including inpatient psychiatric hospitals,

residential treatment centers, mental health rehabilitation centers, and community-based services.

The RS Division operates approximately 70 facilities across 10 states, employs over 4,000

healthcare professionals, and has consistently demonstrated strong financial growth.

        14.     The Corrections Assets largely comprise of (a) the SF Division and (b) the LG

Division. Each of these divisions is distinct and provides separate business functions. The SF

Division provides chronic care and disease management services to incarcerated individuals in

state and federal prisons; whereas the LG Division provides a full suite of medical services to

patients in local jails or juvenile detention facilities, focusing on short-term stabilization and triage

given that the patient population in such jails and facilities remains incarcerated or detained for a

shorter length of time. To ensure high-quality care to its patients, both the SF Division and the

LG Division operate on-site suites of medical services.

                                  Prepetition Marketing Process

        15.     Since being retained by the Debtors in January 2024, Lazard Frères & Co. LLC

(“Lazard”) worked closely with the Debtors’ legal advisor McDermott Will & Emery LLP, to

pursue an out-of-court recapitalization transaction involving a sale of the Recovery Solutions

Assets. The Debtors sought to use proceeds from a potential sale of the Recovery Solutions Assets

to pay down a significant portion of the Prepetition First Lien Term Loan to facilitate an extension

of the remaining debt amounts. As such, between January and March of 2024, Lazard prepared for

the marketing process of the Recovery Solutions Assets.

        16.     The sale process of the Recovery Sale Assets launched in April of 2024. Lazard,

together with the Debtors’ healthcare investment banker MTS Health Partners L.P. (“MTS”),

contacted over 140 parties, including financial sponsors and strategic parties, to solicit proposals

to acquire the RS Division. In connection with this solicitation, Lazard and MTS prepared, among


                                                   8
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 9 of 70




other things, a confidential information presentation and an electronic data room to which

prospective bidders that executed confidentiality agreements received access. In total, more than

70 prospective bidders executed confidentiality agreements and received access to private-side

information. By the end of June 2024, the Debtors received six preliminary indications of interest

as part of a first-round process. The Debtors continued and further advanced the marketing process

during July and August of 2024.

        17.     In evaluating various value-maximizing strategic alternatives, in July 2024, the

Debtors, in conjunction with their advisors, began engaging with an ad hoc group of lenders

(the “Ad Hoc Group”) about potential out-of-court balance sheet solutions. On August 30, 2024

(and as later amended on September 30, 2024 and October 31, 2024), the Debtors and the Ad Hoc

Group executed forbearance agreements to forbear from taking enforcement actions relating to the

events of default in connection with the cash interest and amortization payments on the prepetition

credit facilities as well as the maturity of the Prepetition First Lien Credit Facility with the goal to

preserve liquidity and extend the runway under the prepetition credit facilities to continue working

toward an amicable solution.

        18.     However, despite the Debtors’ robust marketing process, after several weeks of

further diligence and management presentations, the Debtors only received one formal second-

round check-in bid, which was at a reduced valuation from the preliminary indication of interest.

While Wellpath and its advisors tried to keep the bidder engaged, the Debtors also attempted to

reengage with other bidders between August and September of 2024. The Debtors did not receive

any acceptable bids at the conclusion of the Debtors’ bidding process. Consequently, the Debtors

temporarily put the marketing process on hold and pivoted to negotiating the terms of an in-court

restructuring with the Ad Hoc Group. These negotiations ultimately led to the execution of the




                                                   9
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 10 of 70




RSA, which contemplates the sale of substantially all of the Recovery Solutions Assets to the

Recovery Solutions Stalking Horse Bidder via the credit bid memorialized in the Recovery

Solutions Stalking Horse Agreement.

       19.     To maximize the value of the estates’ assets and elicit the highest or otherwise best

offers for the Assets, the Debtors and their advisors (in consultation with key stakeholders)

developed the proposed Bidding Procedures to allow interested parties to provide Bids that are

superior to the Recovery Solutions Stalking Horse Bid and submit Bids (a) with respect to the

Recovery Solutions, for all or substantially all of the Recovery Solutions Assets and (b) for the

Corrections Assets, which Bids may be for (i) all or substantially all of the Corrections Assets,

(ii) the SF Assets, or (iii) the LG Assets, in each case, subject to the terms and provisions of the

Bidding Procedures. Pursuant to the Bidding Procedures, the Debtors intend to continue marketing

the Assets to potential buyers and facilitating access to diligence materials. Such materials, for

those executing a confidentiality agreement with the Debtors and receiving access to a virtual data

room, would include confidential presentation materials, additional legal, financial, operational,

and other information on the Debtors, and, as appropriate, meetings with management.

       20.     The Debtors and their advisors have carefully evaluated a number of qualitative

and quantitative factors in designing a process that they believe would maximize the value of their

estates and produce maximum recoveries. This process principally includes approval of the

Bidding Procedures that are designed to promote active bidding and obtain the highest or otherwise

best offers available for the Assets. Moreover, the Bidding Procedures provide the Debtors with

the flexibility to consider bids in the form of chapter 11 plans of reorganization.

       21.     The Debtors, in consultation with their advisors, believe that the process and time

periods set forth in the Bidding Procedures are reasonable and would provide parties with




                                                 10
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 11 of 70




sufficient time and information necessary to formulate bids to purchase the Assets. In formulating

the Bidding Procedures and time periods contained therein, the Debtors balanced the need to

provide adequate and appropriate notice to parties in interest and to potential purchasers with the

need to efficiently sell the Assets on an expedited timeline to maximize realizable value, all the

while preventing the disclosure of confidential and sensitive information to competitors that could

be damaging to the business. As described above and more fully in the Tempke Declaration and

the Schoenholtz Declaration, the Recovery Solutions Assets have been marketed by the Debtors,

with the assistance of Lazard and MTS, to a broad group of strategic and financial buyers and

substantial information regarding the Recovery Solutions Assets has been made available during

the marketing process. Accordingly, the Debtors believe that numerous parties that may have an

interest in bidding at the Auction for the Recovery Solutions Assets are already familiar with such

assets for the purposes of formulating their Bids. Furthermore, Potential Bidders would have

access to updated information prepared by the Debtors, with the assistance of Lazard and MTS,

and a substantial body of information that resides in the Debtors’ virtual data room.

       22.     Speed and efficiency are critical, in light of the Debtors’ business profile and line

of businesses they operate, liquidity profile and the Debtors’ obligations under the DIP Facilities,

and the completion of the sale process in a timely and efficient manner would help maximize the

value of the Assets for the benefit of all stakeholders. An expedited sale is critical to preserving

both the Recovery Solutions Assets and Corrections Assets, as several of the Debtors’ customer

contracts are subject to the competitive dynamics of RFP (request for proposal) processes. Further,

the time periods set forth in the Bidding Procedures are consistent with the case milestones under

the RSA and DIP Facilities (the “RSA and DIP Milestones”) and were negotiated and agreed to

among the Debtors, with the advice of their advisors, the DIP Agent and DIP Lenders, and the Ad




                                                11
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 12 of 70




Hoc Group, and failure to adhere to such time periods could jeopardize the closing of a Sale

Transaction and the success of these chapter 11 cases. Thus, the Debtors have determined that

pursuing one or more transactions in the manner and within the time periods prescribed in the

Bidding Procedures is in the best interest of the Debtors’ estates and would provide interested

parties with sufficient opportunity to participate.

          23.      Accordingly, the Debtors believe that approval of the Bidding Procedures and the

related relief requested in this Motion would allow the Debtors to efficiently maximize value and

is in the best interests of the Debtors, their estates and creditors, and all other parties in interest.

Therefore, the Debtors respectfully request that the Court grant the relief requested herein.

                                           The Bidding Procedures

I.        The Proposed Schedule. 6

          24.      The Debtors believe that a prompt schedule is in the best interests of all

stakeholders in these chapter 11 cases. The key dates for the Recovery Solutions / Consolidated

Sale Transaction are as follows:

                  Date and Time                                          Event or Deadline
           (all times in Central Time)
    November 27, 2024                                Target date for the Debtors to file a schedule listing
                                                     all potential Assumed Contracts
    December 11, 2024 at 4:00 p.m.                   Cure Objection Deadline
    December 13, 2024 at 4:00 p.m.                   Recovery Solutions / Consolidated Bid Deadline
    December 16, 2024 at 9:00 a.m.                   Recovery Solutions / Consolidated Auction (if
                                                     required)
    December 18, 2024 at 4:00 p.m.                   Deadline for objections to the approval of the
                                                     Recovery     Solutions     /    Consolidated      Sale
                                                     Transaction(s) contemplated by any designated
                                                     Successful Bid(s) (or Alternate Bid(s), as applicable)


6
      Capitalized terms used but not otherwise defined in this section shall have the meaning ascribed to them below
      or in the Bidding Procedures, as applicable.



                                                         12
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 13 of 70




               Date and Time                                     Event or Deadline
        (all times in Central Time)
 December 23, 2024, subject to Court Sale Hearing as to the Recovery Solutions /
 availability                        Consolidated Sale Transaction(s) contemplated by
                                     any designated Successful Bid(s) (or Alternate
                                     Bid(s), as applicable)

        25.       In the event that the Recovery Solutions / Consolidated Sale Transaction does not

constitute a Consolidated Asset Sale, the key dates for any Corrections Asset(s) Sale Transaction

are as follows:

               Date and Time                                     Event or Deadline
        (all times in Central Time)
 November 27, 2024                             Target date for the Debtors to file a schedule listing
                                               all potential Assumed Contracts
 December 11, 2024 at 4:00 p.m.                Cure Objection Deadline
 January 20, 2025 at 4:00 p.m.                 Corrections Asset(s) Bid Deadline
 January 28, 2025 at 9:00 a.m.                 Corrections Assets Auction (if required)
 January 31, 2025 at 4:00 p.m.                 Deadline for objections to the approval of any
                                               Corrections      Asset(s)     Sale  Transaction(s)
                                               contemplated by any designated Successful Bid(s) (or
                                               Alternate Bid(s), as applicable)
 February 4, 2025, subject to Court Sale Hearing as to the Corrections Asset(s) Sale
 availability                       Transaction(s) contemplated by any designated
                                    Successful Bid(s) (or Alternate Bid(s), as applicable)

        26.       The Debtors believe that the foregoing timelines provide them with a sufficient

opportunity to conduct a thorough marketing process for the Assets. In addition to the Debtors’

transaction efforts thus far, the Debtors will utilize the time prior to entry of the Bidding Procedures

Order to actively market the Assets to expedite the solicitation bids in advance of the Bid Deadline

(as defined in the Bidding Procedures). The Debtors believe the proposed schedule is in the best

interests of their creditors, other stakeholders, and all other parties in interest, and should be

approved.



                                                  13
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 14 of 70




II.    The Bidding Procedures.

       27.     The Bidding Procedures are designed to promote a competitive and efficient sale

process to maximize the value of the Assets. If approved, the Bidding Procedures would allow the

Debtors to solicit and identify bids from potential buyers or investors that constitute the highest or

otherwise best offer for the Recovery Solutions Assets on a schedule consistent with the deadlines

under the Recovery Solutions Stalking Horse Agreement, the RSA and DIP Milestones, and the

Debtors’ strategy for maximizing value for their stakeholders. Similarly, the proposed Bidding

Procedures would allow the Debtors to solicit and identify bids from potential buyers or investors

that constitute the highest or otherwise best offer for the Corrections Assets on a schedule

consistent with the RSA and DIP Milestones and the Debtors’ strategy for maximizing value for

their stakeholders.

       28.     Finally, the Bidding Procedures explicitly provide that any Successful Bid (even a

credit bid) for a Corrections Asset(s) Sale Transaction or a Consolidated Asset Sale shall be subject

to (a) the Debtors having sufficient cash at the consummation of any such sale, as determined in

consultation with the Consultation Parties, to satisfy the Wind-Down Budget to pay all allowed,

(i) post-petition claims, (ii) administrative expense and priority claims, and (iii) professional fees

and expenses necessary to wind-down the Debtors’ estates in a reasonable and appropriate timeline

and in consultation with the Consultation Parties, and (b) the requirement that the net proceeds of

any Corrections Asset(s) Sale Transaction(s) or a Consolidated Asset Sale, pursuant to the Bidding

Procedures, shall first satisfy the Wind-Down Budget before repayment from such proceeds of any

other claims against the Debtors. As a result, the Debtors would have sufficient cash to administer

the wind-down of the Debtors’ estates subsequent to the closing of the Corrections Asset(s) Sale

Transaction or the Consolidated Asset Sale. Moreover, at the closing of a Corrections Asset(s)

Sale Transaction or a Consolidated Asset Sale, the Debtors intend to deposit the sale proceeds


                                                 14
             Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 15 of 70




   realized therefrom into a segregated account held by the Debtors pending the ultimate resolution

   (either by agreement or Court determination) and funding of the appropriate amount on account of

   the Wind-Down Budget. The Debtors shall not distribute any proceeds of any Corrections Asset(s)

   Sale Transaction or a Consolidated Asset Sale prior to the funding of the Wind-Down Budget.

             29.      As the Bidding Procedures are attached to the Bidding Procedures Order as

   Exhibit 1, they are not restated herein in their entirety. The following describes certain material

   points of the Bidding Procedures: 7

       Requirement                                                   Description
Potential Bidders &          To participate in the bidding process or otherwise be considered for any purpose
Acceptable Bidders           under the Bidding Procedures, a person or entity interested in consummating a
                             Sale Transaction (a “Potential Bidder”) must deliver or have previously delivered
                             to the Debtors and each of their advisors the following documents and
                             information (unless the Debtors, in their reasonable business judgment after
                             consultation with the Consultation Parties, choose to waive any of the
                             requirements set forth in Section III of the Bidding Procedures for any Potential
                             Bidder):

                                 A. a statement and other factual support demonstrating, to the Debtors’
                                    satisfaction, that the Potential Bidder has a bona fide interest in purchasing
                                    any or all of the Assets and is likely to be able to submit a Qualified Bid
                                    by the Bid Deadline;
                                 B. a description of the nature and extent of any due diligence the Potential
                                    Bidder wishes to conduct and the date in advance of the applicable Bid
                                    Deadline by which such due diligence will be completed;
                                 C. a description of any connections that the Potential Bidder, its affiliates, and
                                    related persons have to the Debtors, any current or former directors and
                                    officers of the Debtors, their non-Debtor affiliates, and their primary
                                    creditors as identified by the Debtors;
                                 D. an executed confidentiality agreement on terms acceptable to the Debtors
                                    (a “Confidentiality Agreement”);
                                 E. identification of the Potential Bidder and any principals and
                                    representatives thereof who are authorized to appear and act on such

   7
         This summary is qualified in its entirety by the Bidding Procedures attached as Exhibit 1 to the Bidding
         Procedures Order. All capitalized terms used in this summary but not otherwise defined herein shall have the
         meanings ascribed to such terms in the Bidding Procedures. To the extent that there are any conflicts between
         this summary and the Bidding Procedures, the terms of the Bidding Procedures shall govern.



                                                           15
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 16 of 70




   Requirement                                         Description
                          Potential Bidder’s behalf for all purposes regarding the contemplated
                          proposed Sale Transaction(s);
                      F. sufficient information, as determined by the Debtors in their reasonable
                         business judgment, that the Potential Bidder has the financial capacity and
                         any required internal corporate, legal, or other authorizations to close a
                         proposed Sale Transaction, which shall include current audited or verified
                         financial statements of, or verified financial commitments obtained by, the
                         Potential Bidder (or, if the Potential Bidder is an entity formed for the
                         purpose of acquiring the Assets, of the party that will bear liability for a
                         breach), the adequacy of which must be reasonably acceptable to the
                         Debtors (after consultation with the Consultation Parties);
                      G. a statement that Potential Bidder is not partnering or otherwise working
                         with any other interested party in connection with the potential submission
                         of a joint Bid or post-closing arrangements; and
                      H. an optional non-binding written indication of interest specifying, among
                         other things, with respect to any proposed Sale Transaction, the identity of
                         the Assets to be acquired, the amount and type of consideration to be
                         offered, and any other material terms to be included in a Bid by such
                         Potential Bidder.
                    The Debtors, in consultation with their advisors, will determine and notify each
                    Potential Bidder whether such Potential Bidder has submitted adequate
                    documents and information so that such Potential Bidder may proceed to conduct
                    due diligence and submit a Bid (such Potential Bidder, an “Acceptable Bidder”).

Due Diligence       The Debtors, with their advisors, shall establish an electronic data room or rooms
                    (the “Data Room”) that provides standard and customary diligence materials,
                    including the necessary information to allow Acceptable Bidders to submit a Bid
                    and to seek and obtain financing commitments.

                    Only Acceptable Bidders shall be eligible to receive due diligence information
                    and access to the Data Room and to additional non-public information regarding
                    the Debtors. The Debtors will provide to each Acceptable Bidder reasonable due
                    diligence information, as requested by such Acceptable Bidder in writing, as soon
                    as reasonably practicable after such request, and the Debtors shall post all written
                    due diligence provided to any Acceptable Bidder to the Data Room. The Debtors
                    will promptly provide written due diligence materials that have been made
                    available to any other Acceptable Bidder to a Stalking Horse Bidder on the same
                    basis provided to the Acceptable Bidder, to the extent such information has not
                    previously been provided to or is not simultaneously provided to the Stalking
                    Horse Bidder. The due diligence period will end on the applicable Bid Deadline,
                    and subsequent to the applicable Bid Deadline the Debtors may, in their
                    reasonable business judgment after consultation with the Consultation Parties,



                                              16
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 17 of 70




   Requirement                                       Description
                   but shall have no obligation to, furnish any additional due diligence information
                   to any person in connection with the Sale Transaction(s).

                   The Debtors and their advisors shall coordinate all reasonable requests from
                   Acceptable Bidders for additional information and due diligence access;
                   provided that the Debtors may decline to provide such information to Acceptable
                   Bidders who, at such time and in the Debtors’ reasonable business judgment, in
                   consultation with the Consultation Parties, have not established, or who have
                   raised doubt, that such Acceptable Bidder intends in good faith, or has the
                   capacity , to consummate the applicable proposed Sale Transaction.

                   The Debtors also reserve the right to withhold or redact any diligence materials
                   that the Debtors determine, in consultation with the Consultation Parties, are
                   sensitive or otherwise not appropriate for disclosure to an Acceptable Bidder who
                   is a competitor of the Debtors or is affiliated with any competitor of the Debtors
                   (including any equity sponsor or strategic investor that holds an ownership stake
                   in such competitor) (a “Competitor”), and the Debtors shall require that any
                   Acceptable Bidder that is a Competitor enter into a “clean team” or similar
                   arrangement acceptable to the Debtors, in consultation with the Consultation
                   Parties, which arrangement shall prohibit any such information from being
                   accessed by any personnel or other representatives of the Competitor who make
                   competitive decisions for such Competitor or that would permit such information
                   from being used for any other purpose other than in connection with the making
                   of a Bid. Neither the Debtors nor their representatives shall be obligated to
                   furnish information of any kind whatsoever to any person that is not determined
                   to be an Acceptable Bidder.

                   All due diligence requests directed to the Debtors must be directed to:
                   project.starburst.2024@lazard.com and raikin @mtspartners.com.

                   Each Acceptable Bidder and Qualified Bidder shall comply with all
                   reasonable requests with respect to information and due diligence access by
                   the Debtors or their advisors regarding such Acceptable Bidder or Qualified
                   Bidder, as applicable, and its contemplated proposed Sale Transaction.

Bid Requirements   Any proposal, solicitation, or offer to consummate a Sale Transaction
                   (each a “Bid”) must be submitted in writing and must satisfy the following
                   requirements (collectively, the “Bid Requirements”):

                     A. Proposed Sale Transaction. Each Bid must propose a Sale Transaction
                        as to the Recovery Solutions Assets or the Corrections Assets (each,
                        an “Asset Package”), or both for a Consolidated Asset Sale, in the form of
                        an asset purchase agreement or a chapter 11 plan of reorganization. Each
                        Bid must specify which of such Assets (including equity interests of some
                        or all of the Debtors (if applicable)) are to be included in or excluded from


                                             17
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 18 of 70




Requirement                                      Description
                    the proposed Sale Transaction, and which liabilities the Potential Bidder
                    agrees to assume, including any indebtedness to be assumed, if any
                    (the “Assumed Liabilities”); provided, however, that (1) any Bid for the
                    Recovery Solutions Assets must be for all or substantially all of the
                    Recovery Solutions Assets and (2) any Bid for the Corrections Assets must
                    be a Bid for (a) all or substantially all of the Corrections Assets, (b) those
                    assets associated with the business and operations associated with the
                    Debtors’ state and federal division (the “SF Assets”), or (c) those assets
                    associated with the business and operations of the Debtors’ local
                    government division (the “LG Assets”). A Bid that includes the Recovery
                    Solutions Assets, or sale of all or substantially all of the Assets, shall
                    constitute a “Recovery Solutions / Consolidated Bid” and a Sale
                    Transaction that includes the Recovery Solutions Assets, or sale of all or
                    substantially all of the Assets, shall constitute a “Recovery Solutions /
                    Consolidated Sale Transaction.” In the event the Recovery Solutions /
                    Consolidated Sale Transaction is not a Consolidated Asset Sale, a Bid that
                    includes all or substantially all of the Corrections Assets, or sale of either
                    the SF Assets or LG Assets, shall constitute a “Corrections Asset(s) Bid”
                    and a Sale Transaction that includes all or substantially all of the
                    Corrections Assets, or sale of either the SF Assets or LG Assets, shall
                    constitute a “Corrections Asset(s) Sale Transaction.” A Chapter 11 Plan
                    Bid must specify structure, the confirmability and feasibility of any
                    proposed chapter 11 plan (including the proposed time and costs estimated
                    to be necessary to negotiate, document, and obtain confirmation of such
                    proposed chapter 11 plan).
                 B. Purchase Price. A Bid must clearly specify a cash purchase price,
                    Assumed Liabilities, and identify separately any other non-cash
                    components (the “Purchase Price”). Other than a Chapter 11 Plan Bid, a
                    Bid with respect to the Corrections Assets must specify how the Purchase
                    Price is to be allocated among the SF Assets and the LG Assets to be
                    included in the proposed Sale Transaction. A Bid for both Asset Packages
                    must specify how the Purchase Price is to be allocated among each Asset
                    Package to be included in the proposed Sale Transaction. A Bid for Assets
                    in both Asset Packages must specify how the Purchase Price is to be
                    allocated among such Assets. The Purchase Price must be at least equal to
                    the following: (1) for a Recovery Solutions / Consolidated Sale
                    Transaction, (a) the consideration set forth in the Recovery Solutions
                    Stalking Horse Bid (as defined below), plus (b) $5,000,000, plus (c) the
                    Recovery Solutions Expense Reimbursement (as defined below); and (2)
                    for a Corrections Asset(s) Sale Transaction, (a) the consideration set forth
                    in any Corrections Asset(s) Approved Stalking Horse Bid (as defined
                    below) plus (b) the aggregate amount of any Corrections Asset(s)
                    Approved Bid Protections, plus (c) such additional amount as determined



                                        18
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 19 of 70




Requirement                                      Description
                    by the Debtors in their reasonable business judgment, in consultation with
                    the Consultation Parties.
                 C. Deposit. Each Bid (other than the Recovery Solutions Stalking Horse Bid)
                    must be accompanied by a cash deposit in amount equal to ten percent of
                    the aggregate cash Purchase Price to be held in an escrow account on terms
                    acceptable to the Debtors (the “Deposit”); provided, however, that the
                    Debtors, in their reasonable business judgment, in consultation with the
                    Consultation Parties, may elect to waive or modify the requirement of a
                    Deposit on a case-by-case basis; provided further, that no Deposit shall be
                    required for the credit portion of any Bid that includes a credit bid. To the
                    extent a Qualified Bid is modified before, during, or after the Auction in a
                    manner that increases the originally contemplated Purchase Price, the
                    Debtors reserve the right, after consultation with the Consultation Parties,
                    to require that the applicable Qualified Bidder increase its Deposit so that
                    it equals ten percent of the increased Purchase Price.
                 D. Transaction Documents. Other than for a Qualified Bid in the form of a
                    chapter 11 plan of reorganization (“Chapter 11 Plan Bid”), each Bid must
                    be accompanied by an executed purchase agreement with respect to the
                    proposed Sale Transaction, including the exhibits, schedules, and ancillary
                    agreements related thereto and any other related material documents
                    integral to such Bid (including a schedule of contracts and/or leases to be
                    assumed and/or assumed and assigned to the extent applicable to the Bid).
                    In addition, (1) for the Recovery Solutions Assets or all or substantially all
                    of the Assets, the executed purchase agreement accompanying such
                    Potential Bidder’s Bid must be further accompanied by a redline copy
                    marked to reflect any amendments or modifications to the Recovery
                    Solutions Stalking Horse Agreement (as defined below) and (2) for the
                    Corrections Assets, the executed purchase agreement accompanying such
                    Potential Bidder’s Bid must be further accompanied by a redline copy
                    marked to reflect any amendments or modifications to (a) the form
                    purchase agreement provided by the Debtors (through their advisors) or
                    (b) any Corrections Asset(s) Stalking Horse Agreement. For the
                    avoidance of doubt, a “conceptual” or “issues list”-style markup of the
                    form asset purchase agreement would not satisfy this requirement. Each
                    Chapter 11 Plan Bid must be accompanied by an executed investment
                    agreement, signed by an authorized representative of such Potential
                    Bidder, pursuant to which the bidder proposes to effectuate the
                    transactions contemplated by the Chapter 11 Plan Bid and must provide
                    for a fully committed investment of capital in exchange for substantially
                    all of the equity of the reorganized Debtors.
                 E. Alternate Bidder Commitment. A Bid must include a written
                    commitment by the applicable Acceptable Bidder to serve as an Alternate
                    Bidder in the event that such Acceptable Bidder’s Bid is not selected as


                                         19
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 20 of 70




Requirement                                     Description
                    the Successful Bid; provided that the foregoing shall not apply to any
                    Potential Bidder that (1) both (a) qualifies as a Secured Party (as defined
                    below) and (b) submits a Bid that contemplates providing consideration
                    pursuant to section 363(k) of the Bankruptcy Code or a chapter 11 plan of
                    reorganization or (2) is expressly exempted from such requirement
                    pursuant to each applicable Stalking Horse Agreement (as defined below).
                 F. Proof of Financial Ability to Perform. A Bid must include written
                    evidence to allow the Debtors to reasonably conclude that the Potential
                    Bidder has the necessary financial ability to close the proposed Sale
                    Transaction. Such information must include the following:
                    1.   contact names and telephone numbers for verification of financing
                         sources;
                    2.   evidence of the Potential Bidder’s internal resources and, if
                         applicable, proof of unconditional, fully executed, and effective
                         financing commitments from one or more reputable sources in an
                         aggregate amount equal to the cash portion of such Bid (including, if
                         applicable, the payment of cure amounts), in each case, as are needed
                         to close the proposed Sale Transaction;
                    3.   a description of the Potential Bidder’s pro forma capital structure; and
                    4.   any other financial disclosure or credit-quality support information or
                         enhancement reasonably requested by the Debtors or their advisors to
                         demonstrate that such Potential Bidder has the ability to close the
                         proposed Sale Transaction.
                 G. Contingencies; No Financing or Diligence Outs. A Bid shall not be
                    conditioned on (1) the bidder obtaining financing or (2) the outcome or
                    review of due diligence, or otherwise subject to contingencies more
                    burdensome than those set forth in the applicable Stalking Horse
                    Agreement.
                 H. Identity. Each Bid must fully disclose the identity of each entity that will
                    be bidding or otherwise participating in connection with such Bid—
                    including each equity holder or other financial backer of the Potential
                    Bidder if such Potential Bidder is an entity formed for the purpose of
                    consummating the proposed Sale Transaction contemplated by such Bid—
                    and the complete terms of any such participation. Each Bid should also
                    include contact information for the specific person(s) and counsel whom
                    the Debtors (and their advisors) should contact regarding such Bid.
                 I. Regulatory and Third-Party Approvals. A Bid must set forth each
                    regulatory and third-party approval required for the Potential Bidder to
                    consummate the proposed Sale Transaction, if any, and the date by which
                    the Potential Bidder expects to receive such approvals, and those actions



                                        20
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 21 of 70




Requirement                                      Description
                    the Potential Bidder will take to ensure receipt of such approvals as
                    promptly as possible.
                 J. Authorization. Each Bid must contain evidence acceptable to the Debtors
                    that the Potential Bidder has obtained authorization or approval from its
                    board of directors (or a comparable governing body) with respect to the
                    submission of its Bid and the consummation of the proposed Sale
                    Transaction contemplated by such Bid.
                 K. Contracts and Leases. The Bid must identify each and every executory
                    contract and unexpired lease to be assumed and assigned in connection
                    with the proposed Sale Transaction (collectively, the “Assumed
                    Contracts”), and provide the Potential Bidder’s agreement to pay all Cure
                    Costs associated with any Assumed Contracts. Each Bid must include
                    evidence of the Potential Bidder’s ability to comply with section 365 of
                    the Bankruptcy Code (to the extent applicable), including audited and
                    unaudited financial statements, tax returns, bank account statements, and
                    a description of the business to be conducted at the premises, and such
                    other documentation as the Debtors may request in their reasonable
                    business judgment (the “Adequate Assurance Package”). The Adequate
                    Assurance Package should be submitted in its own compiled .pdf
                    document.
                 L. Management and Employee Obligations. The Bid must indicate
                    whether the Potential Bidder intends to hire all or some of the employees
                    who are primarily employed in connection with the Assets to be included
                    in the proposed Sale Transaction.
                 M. As-Is, Where-Is. Each Bid must include a written acknowledgement and
                    representation that the Potential Bidder (1) has had an opportunity to
                    conduct any and all due diligence regarding the proposed Sale Transaction
                    prior to making its Bid, (2) has relied solely upon its own independent
                    review, investigation, or inspection of any documents in making its Bid,
                    and (3) did not rely upon any written or oral statements, representations,
                    promises, warranties, or guaranties whatsoever, whether express, implied
                    by operation of law, or otherwise, by the Debtors or their advisors or other
                    representatives regarding the proposed Sale Transaction or the
                    completeness of any information provided in connection therewith or the
                    Auction (if any).
                 N. No Collusion. Each Potential Bidder must acknowledge in writing the
                    following: (1) in connection with submitting its Bid, it has not engaged in
                    any collusion that would be subject to section 363(n) of the Bankruptcy
                    Code with respect to any Bids or any Sale Transaction, specifying that it
                    did not agree with any Potential Bidders to control the Purchase Price; and
                    (2) it agrees not to engage in any collusion that would be subject to section




                                        21
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 22 of 70




Requirement                                     Description
                    363(n) of the Bankruptcy Code with respect to any Bids, any Auction, or
                    any Sale Transaction.
                 O. No Break-Up Fee. Each Bid shall indicate that such Potential Bidder will
                    not seek any transaction break-up fee, termination fee, expense
                    reimbursement, working fee, or similar type of payment; provided that (1)
                    the Recovery Solutions Stalking Horse Bidder shall be entitled to the
                    Recovery Solutions Expense Reimbursement and (2) the Debtors are
                    authorized in their discretion to offer Corrections Asset Bid Protections to
                    one or more Corrections Asset(s) Stalking Horse Bidders, in each case, in
                    accordance with these Bidding Procedures and the Bidding Procedures
                    Order.
                 P. Indication of Interest. To the extent that a Potential Bidder provided a
                    non-binding indication of interest pursuant to section III.H of the Bidding
                    Procedures, each Bid must describe any material deviations from such
                    indication of interest.
                 Q. Commitment to Close. A Bid by a Potential Bidder must be reasonably
                    likely (based on antitrust or other regulatory issues, experience, and other
                    considerations in the Debtors’ reasonable business judgment, after
                    consultation with the Consultation Parties) to be consummated, if selected
                    as the Successful Bid, within a time frame acceptable to the Debtors. Each
                    Potential Bidder must commit to closing the proposed Sale Transaction
                    contemplated by the Bid as soon as practicable, and in no event later than
                    any deadline set forth in the applicable Stalking Horse Agreement.
                 R. Irrevocable Bid. Each Bid must contain a statement by the applicable
                    Potential Bidder acknowledging and agreeing that such Bid and each of its
                    provisions is binding upon the Potential Bidder and irrevocable in all
                    respects unless and until the Debtors have accepted a Successful Bid with
                    respect to the relevant Assets and the relevant Potential Bidder is not
                    selected as the Alternate Bidder with respect to such Assets.
                 S. Compliance with Bidding Procedures. Each Bid must contain a
                    statement that (1) the Potential Bidder has acted in good faith consistent
                    with section 363(m) of the Bankruptcy Code, (2) the Bid constitutes a bona
                    fide offer to consummate the proposed Sale Transaction embodied therein,
                    and (3) the Potential Bidder agrees to be bound by these Bidding
                    Procedures.
                 T. Consent to Jurisdiction. Each Potential Bidder must submit to the
                    jurisdiction of the Bankruptcy Court and waive any right to a jury trial in
                    connection with any disputes relating to the Debtors’ qualification of Bids,
                    the Auction (if held), the construction and enforcement of these Bidding
                    Procedures or any sale documents, and the consummation of a Sale
                    Transaction.



                                        22
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 23 of 70




    Requirement                                       Description
                    By submitting a Bid, each Potential Bidder is agreeing, and shall be deemed to
                    have agreed, to abide by and honor the terms of these Bidding Procedures and to
                    refrain from (a) submitting a Bid after conclusion of the Auction (if any) or (b)
                    seeking to reopen the Auction (if any) once closed. The submission of a Bid
                    shall constitute a binding and irrevocable offer (a) for the Successful Bidder,
                    until consummation of the proposed Sale Transaction, (b) for the Alternate
                    Bidder (if any), as provided in the Bidding Procedures, including section
                    VIII in the Bidding Procedures, and (c) for any Bidder other than the
                    Successful Bidder and Alternate Bidder, until two business days after entry
                    of the Sale Order approving the Successful Bid and (if applicable) the
                    Alternate Bid for the applicable Assets, and each Bid must include a written
                    acknowledgement and representation to such effect.
No Communications   There shall be no communications between or among Potential Bidders and/or
Among Bidders       Acceptable Bidders unless the Debtors’ advisors have authorized such
Without Consent     communication in writing. The Debtors reserve the right, in their reasonable
                    business judgment and upon consultation with the Consultation Parties, to
                    disqualify any Potential Bidders or Acceptable Bidders that have
                    communications between or amongst themselves without the prior authorization
                    of the Debtors’ advisors. For the avoidance of doubt, the joining of Bids between
                    Potential Bidders or Acceptable Bidders may be permitted by the Debtors, after
                    consultation with the Consultation Parties; provided that, the Debtors will be
                    authorized to approve joint Bids in their reasonable discretion on a case-by-case
                    basis.

Designation of an   If for any reason a Successful Bidder fails to consummate its Successful Bid
Alternate Bidder    within the time permitted after the entry of the Sale Order approving the Sale to
                    such Successful Bidder, then the Qualified Bidder or Qualified Bidders with the
                    next-highest or otherwise second-best Bid (each an “Alternate Bidder”), as
                    determined by the Debtors after consultation with their advisors and the
                    Consultation Parties, at the conclusion of the Auction and announced at that time
                    to all the Qualified Bidders participating therein, will automatically be deemed
                    to have submitted the highest or otherwise best Bid or Bids (each an “Alternate
                    Bid”), and the Alternate Bidder will be required to consummate the transaction
                    pursuant to the Alternate Bid as soon as is commercially reasonable without
                    further order of the Court upon at least 24 hours’ advance notice, which notice
                    will be filed with the Court; provided that the foregoing shall not apply to any
                    Qualified Bidder that (a) both (i) qualifies as a Secured Party and (ii) submits a
                    Bid that contemplates providing consideration pursuant to section 363(k) of the
                    Bankruptcy Code or (b) is expressly exempted from such requirement pursuant
                    to an applicable Stalking Horse Agreement.

                    Upon designation of the Alternate Bidder at the Auction, the Alternate Bid must
                    remain open, notwithstanding any outside date set forth in such Alternate
                    Bidder’s proposed purchase agreement or a chapter 11 plan, until the earlier of


                                              23
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 24 of 70




    Requirement                                        Description
                    (a) the Closing of the Successful Bid or (b) the date that is 60 days following the
                    conclusion of the Auction. Each Alternate Bidder’s Deposit will be held in
                    escrow until the closing of the Sale Transaction with the applicable Successful
                    Bidder.

Qualified Bids &    A Bid is deemed a “Qualified Bid” if the Debtors, in their reasonable business
Qualified Bidders   judgment, in consultation with the Consultation Parties, determine that such Bid
                    (a) satisfies the Bid Requirements set forth above and (b) is reasonably likely to
                    be consummated if selected as the Successful Bid (or Alternate Bid, as
                    applicable) for the applicable Assets no later than the Applicable Outside Date
                    (as defined below); provided that any Stalking Horse Bid shall constitute and be
                    deemed a Qualified Bid, and the Stalking Horse Bidders may participate in the
                    Auctions.

                    The “Applicable Outside Date” is, (a) in the case of any Recovery Solutions /
                    Consolidated Bid, January 9, 2025 and (b) in the case of any Corrections Asset(s)
                    Bid, March 31, 2025.

                    An Acceptable Bidder that submits a Qualified Bid is a “Qualified Bidder” with
                    respect to the Assets to which such Qualified Bid relates. A Qualified Bid for
                    the Recovery Solutions Assets, or sale of all or substantially all of the Assets,
                    shall constitute a “Recovery Solutions / Consolidated Qualified Bid.” A
                    Qualified Bid for all or substantially all of the Corrections Assets, or sale of non-
                    overlapping SF Assets and LG Assets, shall constitute a “Corrections Asset(s)
                    Qualified Bid.”

                    As soon as reasonably practicable after the applicable Bid Deadline, the Debtors
                    will notify each Acceptable Bidder whether such party is a Qualified Bidder and
                    shall provide the Consultation Parties’ counsel with a copy of each Qualified Bid.
                    If an Acceptable Bidder’s Bid is determined not to be a Qualified Bid, the Debtors
                    will refund such Acceptable Bidder’s Deposit (if any) on the date that is three
                    business days after the applicable Bid Deadline. The Debtors shall have the right
                    (upon consultation with the Consultation Parties) to deem a Bid a Qualified Bid
                    even if such Bid does not conform to one or more of the Bid Requirements.

                    Between the date that the Debtors notify an Acceptable Bidder that it is a
                    Qualified Bidder and the date set for the Auction, the Debtors may discuss,
                    negotiate, or seek clarification of any Qualified Bid from a Qualified Bidder.
                    Without the prior written consent of the Debtors following consultation with the
                    Consultation Parties, a Qualified Bidder may not modify, amend, or withdraw its
                    Qualified Bid, except for proposed amendments to increase the Purchase Price,
                    or otherwise improve the terms of, the Qualified Bid, during the period that such
                    Qualified Bid remains binding as specified in the Bidding Procedures; provided
                    that any Qualified Bid may be improved at the Auction (if any) as set forth in the



                                               24
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 25 of 70




    Requirement                                          Description
                      Bidding Procedures. Any improved Qualified Bid must continue to comply with
                      the requirements for Qualified Bids set forth in the Bidding Procedures.

                      Notwithstanding anything in the Bidding Procedures to the contrary, the Debtors,
                      in consultation with the Consultation Parties, reserve the right to work with (a)
                      Potential Bidders and Acceptable Bidders to aggregate two or more Bids into a
                      single consolidated Bid prior to the applicable Bid Deadline and (b) Qualified
                      Bidders to aggregate two or more Qualified Bids into a single Qualified Bid prior
                      to the conclusion of the Auction (if any). The Debtors, in consultation with the
                      Consultation Parties, reserve the right to cooperate with any Acceptable Bidder
                      to cure any deficiencies in a Bid that is not initially deemed to be a Qualified Bid.
                      The Debtors reserve the right to accept a single Qualified Bid or multiple Bids
                      that, if taken together in the aggregate, would otherwise meet the standards for a
                      single Qualified Bid (in which event those multiple bidders shall be treated as a
                      single Qualified Bidder and their Bid a single Qualified Bid for purposes of the
                      Auction (if any)).

Right to Credit Bid   Any Qualified Bidder that has a valid and perfected lien on any of the Assets of
                      the Debtors’ estates (a “Secured Party”) shall be entitled to credit bid all or a
                      portion of the face value of such Secured Party’s remaining claims against the
                      Debtors toward the Purchase Price specified in such Qualified Bidder’s Bid;
                      provided that (a) a Secured Party shall be entitled to credit bid its claim(s) only
                      with respect to those Assets that are subject to a valid and perfected lien in favor
                      of such Secured Party as to such claim(s) and (b) any such credit bid must be
                      submitted on or before the applicable Bid Deadline and include cash
                      consideration sufficient to satisfy the Carve-Out (as defined in the DIP Orders)
                      any senior liens on the collateral that is subject to the credit bid, except to the
                      extent otherwise agreed by the holders of such senior liens in their sole and
                      absolute discretion. Notwithstanding anything to the contrary herein, the DIP
                      Lenders and the First Lien Lenders (if applicable), subject to section 363(k) of
                      the Bankruptcy Code, may submit a credit bid of all or any portion of the
                      aggregate amount of their respective remaining secured claims. Any credit bid
                      submitted by any DIP Lender or any Prepetition First Lien Secured Party, subject
                      to section 363(k) of the Bankruptcy Code, shall be deemed a Qualified Bid
                      (without the need for any Deposit), unless otherwise ordered by the Court.

Auction               Date, Time, and Location. The Auction for the Recovery Solutions /
                      Consolidated Sale Transaction (the “Recovery Solutions / Consolidated
                      Auction”) shall be conducted at McDermott Will & Emery LLP, 444 West Lake
                      Street, Suite 4000, Chicago, Illinois 60606 on December 16, 2024 at 9:00 a.m.
                      (prevailing Central Time), or such later time on such day or such other place as
                      the Debtors shall notify all Participating Parties (as defined below). The Auction
                      for the Corrections Assets (the “Corrections Asset(s) Auction”) shall be
                      conducted at McDermott Will & Emery LLP, 444 West Lake Street, Suite 4000,
                      Chicago, Illinois 60606 on January 28, 2025 at 9:00 a.m. (prevailing Central


                                                 25
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 26 of 70




Requirement                                        Description
               Time), or such later time on such day or such other place as the Debtors shall
               notify all Participating Parties.

               If (a) no more than one Qualified Bid is submitted by the applicable Bid Deadline
               (whether the Recovery Solutions Stalking Horse Bid, a Corrections Asset(s)
               Approved Stalking Horse Bid, or otherwise) or (b) multiple Partial Bids (as
               defined below) are submitted by the applicable Bid Deadline for non-overlapping
               the SF Assets and LG Assets, the Debtors may elect to cancel the applicable
               Auction and seek approval of the proposed Sale Transaction(s) contemplated in
               the Recovery Solutions Stalking Horse Bid, such Corrections Asset(s) Approved
               Stalking Horse Bid, Qualified Bid that is not either a Recovery Solutions Stalking
               Horse Bid or Corrections Asset(s) Approved Stalking Horse Bid, or Partial Bids,
               as applicable, at the applicable Sale Hearing.

               If any of the Qualified Bids submitted by the applicable Bid Deadline are
               structured as a purchase of less than all or substantially all of the Corrections
               Assets (each such bid, a “Partial Bid”), the Debtors may, in consultation with the
               Consultation Parties, conduct separate auctions at the Auction for the SF Assets
               and the LG Assets (each, an “Auction Lot”). The Debtors may combine Partial
               Bids into an Auction Lot to compete against a Corrections Asset(s) Approved
               Stalking Horse Bid for all or substantially all of the Corrections Assets (as
               applicable). The Debtors may designate such Auction Lot at any time prior to the
               Auction. Only representatives or agents of the Debtors, the Consultation Parties,
               and the Qualified Bidders (including the Recovery Solutions Stalking Horse
               Bidder and any Corrections Asset(s) Approved Stalking Horse Bidder, and the
               legal and financial advisors to each of the foregoing (collectively, the
               “Participating Parties”), will be entitled to attend the Auction, and only Qualified
               Bidders will be entitled to make any Subsequent Bids (as defined in the Bidding
               Procedures) at the Auction. The Participating Parties participating in the Auction
               must appear in person, telephonically, or through a video teleconference, as
               determined by the Debtors.

               Starting Bid. Prior to each Auction, the Debtors will (a) notify each applicable
               Qualified Bidder that has timely submitted a Qualified Bid that its Bid is a
               Qualified Bid and (b) provide all applicable Qualified Bidders with (i) copies of
               the Qualified Bid or combination of Qualified Bids that the Debtors believe, in
               consultation with the Consultation Parties, is the highest or otherwise best offer
               (the “Starting Bid”) for the applicable Asset Package, (ii) an explanation of how
               the Debtors value the Starting Bid, and (iii) a list identifying all of the applicable
               Qualified Bidders. For the avoidance of doubt, the Starting Bid for the
               Corrections Assets may be comprised of Qualified Bids for non-overlapping
               SF Assets and LG Assets if the aggregate consideration of such Qualified Bids is
               higher and better than the Corrections Asset(s) Approved Stalking Horse Bid for
               all or substantially all of the Corrections Assets (as applicable). The Debtors
               shall also provide copies of such Starting Bid (if applicable, marked against the


                                          26
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 27 of 70




Requirement                                       Description
               Recovery Solutions Stalking Horse Bid or Corrections Asset(s) Approved
               Stalking Horse Bid) to all of the applicable Qualified Bidders (including the
               applicable Stalking Horse Bidder(s)) and the Consultation Parties.

               Each Qualified Bidder participating at the Auction will be required to confirm on
               the record at the Auction that (a) it has not engaged in any collusion with respect
               to the bidding process and (b) its Qualified Bid is a good faith offer and it intends
               to consummate the Sale Transaction contemplated by its Qualified Bid if such
               Qualified Bid is the Successful Bid (or Alternate Bid, as applicable) for the
               applicable Assets or Asset Package(s).

               The Debtors may (upon consultation with the Consultation Parties) employ and
               announce at each Auction additional procedural rules for conducting the Auction
               (e.g., the amount of time allotted to submit Subsequent Bids); provided that such
               rules shall (a) not be inconsistent with the Bankruptcy Code, the Bidding
               Procedures Order, or any other order of the Court entered in connection herewith
               and (b) be disclosed to all applicable Qualified Bidders.

               Subsequent Bid. Bidding at each Auction will begin with the applicable Starting
               Bid and continue, in one or more rounds of bidding in the presence of all parties
               at the Auction, so long as during each round at least one subsequent bid (a
               “Subsequent Bid”) is submitted by a Qualified Bidder that (a) improves upon
               such Qualified Bidder’s immediately prior Qualified Bid and (b) the Debtors
               determine, in consultation with the Consultation Parties, that such Subsequent
               Bid is (i) with respect to the first round, a higher or otherwise better offer than
               the Starting Bid and (ii) with respect to subsequent rounds, a higher or otherwise
               better offer than the Leading Bid (as defined below), in each case respecting the
               Corrections Assets taking into account other Qualified Bids for non-overlapping
               SF Assets and LG Assets; provided that, with respect to the first round, any
               Qualified Bid must include a minimum overbid of two percent over the Starting
               Bid. Notwithstanding anything to the contrary herein, the Debtors, in their
               discretion and in consultation with the Consultation Parties, may determine
               appropriate minimum bid increments or requirements for each round of bidding.

               Highest and Best Offer. After the first round of bidding and between each
               subsequent round of bidding, as applicable, the Debtors, in their discretion and
               in consultation with the Consultation Parties, will determine and announce the
               Bid or Bids that they believe to be the highest or otherwise best offer or
               combination of offers (the “Leading Bid”) for each applicable Asset Package.
               Additional consideration in excess of the amount set forth in the applicable
               Starting Bid may include cash and/or non-cash consideration; provided that the
               value for such non-cash consideration shall be determined by the Debtors, in their
               discretion and in consultation with the Consultation Parties. A round of bidding
               will conclude after each participating Qualified Bidder has had the opportunity



                                          27
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 28 of 70




   Requirement                                         Description
                    to submit a Subsequent Bid with full knowledge and written confirmation of the
                    Leading Bid.

                    For the purpose of evaluating Subsequent Bids, the Debtors may require a
                    Qualified Bidder submitting a Subsequent Bid to submit, as part of its Subsequent
                    Bid, additional evidence (in the form of financial disclosure or credit-quality
                    support information or enhancement acceptable to the Debtors in their discretion,
                    after consultation with the Consultation Parties) demonstrating such Qualified
                    Bidder’s ability to close the proposed transaction. The Debtors shall maintain a
                    transcript of all Bids made and announced at each Auction, including the Starting
                    Bid(s), all Subsequent Bid(s), the Leading Bid(s), the Alternate Bid(s), and the
                    Successful Bid(s). If a Qualified Bidder increases its bid at an Auction and is
                    the Successful Bidder or Alternate Bidder, such Qualified Bidder must increase
                    its Deposit to an amount equal to ten percent of the proposed Purchase Price
                    submitted at the Auction within two days after the Auction.

                    Successful Bid. Prior to the conclusion of each Auction, the Debtors, in
                    consultation with the Consultation Parties, shall (a) review and evaluate each Bid
                    made at the Auction on the basis of financial and contractual terms and other
                    factors relevant to the sale process, including those factors affecting the speed
                    and certainty of consummating the sale transaction (in the case of a Chapter 11
                    Plan Bid, the structure, confirmability, and feasibility of any proposed chapter 11
                    plan (including the proposed time and costs estimated to be necessary to
                    negotiate, document and obtain confirmation of such proposed chapter 11 plan)),
                    (b) determine and identify the highest or otherwise best offer or collection of
                    offers (the “Successful Bid(s)”), (c) determine and identify the Alternate Bid(s)
                    and (d) notify all Qualified Bidders participating in the Auction, prior to its
                    adjournment, of (i) the identity of the party or parties that submitted the
                    Successful Bid(s) (the “Successful Bidder(s)”), (ii) the amount and other material
                    terms of the Successful Bid(s), (iii) Alternate Bidders, and (iv) the amount and
                    other material terms of the Alternate Bid(s). As soon as reasonably practicable
                    after the completion of the applicable Auction, the Successful Bidder(s) and the
                    applicable Debtors shall complete and execute all agreements, instruments, and
                    other documents necessary to consummate the applicable Sale Transaction(s)
                    contemplated by the applicable Successful Bid(s).

Fiduciary Out       Notwithstanding anything to the contrary in the Bidding Procedures or any
                    document filed with or entered by the Court, nothing in the Bidding Procedures
                    or the Bidding Procedures Order shall require a Debtor or its board of directors,
                    board of managers, or similar governing body to take any action or to refrain
                    from taking any action with respect to any proposed Sale Transaction or the
                    Bidding Procedures to the extent such Debtor or governing body determines in
                    good faith, in consultation with outside counsel, that taking or failing to take such




                                               28
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 29 of 70




    Requirement                                         Description
                    action, as applicable, would be inconsistent with applicable law or its fiduciary
                    obligations under applicable law.

                    Further, notwithstanding anything to the contrary in the Bidding Procedures or
                    any document filed with or entered by the Court, until the closing of the
                    applicable Auction (if any), the Debtors and their respective directors, managers,
                    officers, employees, investment bankers, attorneys, accountants, consultants, and
                    other advisors or representatives shall have the right to (a) consider, respond to,
                    and facilitate alternate proposals for sales or other transactions involving any or
                    all of the Assets (each an “Alternate Proposal”), (b) provide access to non-public
                    information concerning the Debtors to any entity or enter into confidentiality
                    agreements or nondisclosure agreements with any entity, (c) maintain or continue
                    discussions or negotiations with respect to Alternate Proposals, (d) otherwise
                    cooperate with, assist, participate in, or facilitate any inquiries, proposals,
                    discussions, or negotiations of Alternate Proposals, and (e) enter into or continue
                    discussions or negotiations with any person or entity regarding any Alternate
                    Proposals.

“As Is, Where Is”   Consummation of any Sale Transaction will be on an “as is, where is” basis and
                    without representations or warranties of any kind, nature, or description by the
                    Debtors or their estates, except as specifically accepted or agreed to by the
                    Debtors in the executed definitive documentation for the Sale Transaction
                    (“Definitive Sale Documents”). Consummation of any Sale Transaction will be
                    without any representations or warranties whatsoever by the Debtors’
                    representatives or advisors. Unless otherwise specifically accepted or agreed to
                    by the Debtors in Definitive Sale Documents, and other than as contemplated by
                    a transaction pursuant to a chapter 11 plan of reorganization with respect to the
                    Corrections Assets, all of the Debtors’ right, title, and interest in and to the Assets
                    disposed of in a Sale Transaction will be transferred to the Successful Bidder (or
                    Alternate Bidder, as applicable) free and clear of all pledges, liens, security
                    interests, encumbrances, claims, charges, options, and interests in accordance
                    with sections 363(f) of the Bankruptcy Code.

                    By submitting a Bid, each Potential Bidder will be deemed to acknowledge and
                    represent that it (a) has had an opportunity to conduct adequate due diligence
                    regarding the Debtors and the proposed Sale Transaction prior to making its Bid,
                    (b) has relied solely on its own independent review, investigation, and inspection
                    of any document, including executory contracts and unexpired leases, in making
                    its Bid, and (c) did not rely on or receive from any person or entity (including
                    any of the Debtors or their advisors or other representatives) any written or oral
                    statements, representations, promises, warranties, or guaranties whatsoever,
                    whether express, implied by operation of law, or otherwise, with respect to the
                    proposed Sale Transaction or the completeness of any information provided in
                    connection with the proposed Sale Transaction or the Auction (if any).



                                               29
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 30 of 70




    Requirement                                             Description
Commissions              The Debtors shall be under no obligation to pay any commissions, fees, or
                         expenses to any Potential Bidder’s agent, advisor, or broker. All commissions,
                         fees, or expenses for any such agents, advisors, or brokers may be paid by
                         Potential Bidders at such Potential Bidder’s discretion. In no case shall any
                         commissions, fees, or expenses for any Potential Bidder’s agent, advisor, or
                         broker be deducted from any proceeds derived from any Sale of the Assets. This
                         paragraph shall not apply to any Recovery Solutions Expense Reimbursement or
                         Corrections Asset(s) Bid Protections that become(s) payable pursuant to,
                         respectively, the terms of the Recovery Solutions Stalking Horse Bid or any
                         Corrections Asset(s) Stalking Horse Agreement.

Reservation of Rights The Debtors shall be entitled to modify the Bidding Procedures in their
                      reasonable business judgment, in consultation with the Consultation Parties, in
                      any manner that will best promote the goals of the Bidding Procedures, or
                      impose, at or prior to the Auction (if any), additional customary terms and
                      conditions on a Sale Transaction, including (a) extending the deadlines set forth
                      in the Bidding Procedures, (b) adjourning the Auction, (c) adding procedural
                      rules that are reasonably necessary or advisable under the circumstances for
                      conducting the Auction (if any), (d) canceling the Auction, and (e) rejecting any
                      or all Bids or Qualified Bids. Any modification to the Bidding Procedures, or
                      adoption of new rules, procedures, or deadlines, is without prejudice to a party in
                      interest’s right to seek relief from the Court that such modification, or adoption
                      of new rules, procedures, or deadlines, is inconsistent with this paragraph or the
                      Bidding Procedures.

Consent             to All Qualified Bidders shall be deemed to have consented to the jurisdiction of
Jurisdiction           the Court and waived any right to a jury trial in connection with any disputes
                       relating to the Auction or the construction and enforcement of these Bidding
                       Procedures.

Wind-Down Budget         Notwithstanding anything contained in the Bidding Procedures, any Bid
                         (including a credit bid) of any Corrections Asset(s) Sale Transaction(s) or a
                         Consolidated Asset Sale shall be subject to (a) the Debtors having sufficient cash
                         at the consummation of any such sale, as determined in consultation with the
                         Consultation Parties, to satisfy the reasonable wind-down budget negotiated in
                         good faith (the “Wind-Down Budget”) to pay all allowed (i) post-petition claims,
                         (ii) administrative expense claims and priority claims, and (iii) professional fees
                         and expenses necessary to wind-down the Debtors’ estates in a reasonable and
                         appropriate timeline, subject to the consent of the Required Backstop Parties
                         (which shall not be unreasonably withheld) and in consultation with the
                         Consultation Parties, and (b) the requirement that the net proceeds of any
                         Corrections Asset(s) Sale Transaction(s) or a Consolidated Asset Sale, pursuant
                         to the Bidding Procedures, shall first satisfy the Wind-Down Budget before
                         repayment from such proceeds of any other claims against the Debtors. At the
                         closing of each Corrections Asset(s) Sale Transaction(s) or a Consolidated Asset


                                                   30
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 31 of 70




    Requirement                                           Description
                        Sale, the Debtors shall deposit the sale proceeds from such Corrections Asset(s)
                        Sale Transaction or such Consolidated Asset Sale into a segregated account held
                        by the Debtors pending the ultimate resolution (either by agreement or Court
                        determination) and funding of the appropriate amount on account of the Wind-
                        Down Budget; provided, however, that the Debtors shall be authorized to use a
                        portion of such sale proceeds to pay all allowed (x) post-petition claims,
                        (y) administrative expense claims and priority claims, and (z) professional fees
                        and expenses necessary to administer the Debtors’ estates accrued through the
                        closing of these chapter 11 cases in an amount determined by the Debtors, or as
                        otherwise determined by the Court. The Debtors shall not distribute any proceeds
                        of any Corrections Asset(s) Sale Transaction or a Consolidated Asset Sale prior
                        to the funding of the Wind-Down Budget.

Return of Deposit       Any Deposits provided by Qualified Bidders shall be held in a noninterest-
                        bearing escrow account on terms acceptable to the Debtors. Any such Deposits
                        will be returned to Qualifying Bidders that are not designated Successful Bidders
                        (or Alternate Bidders, as applicable) on the date that is four business days after
                        the Auction (if any). Any Deposit provided by a Successful Bidder (or Alternate
                        Bidder, as applicable) shall be applied to the Purchase Price of the applicable
                        Sale Transaction at closing.

                        If a Successful Bidder (or Alternate Bidder, as applicable) fails to consummate
                        the proposed Sale Transaction contemplated by its Successful Bid (or Alternate
                        Bid, as applicable) because of a breach by such Successful Bidder (or Alternate
                        Bidder, as applicable), the Debtors will not have any obligation to return any
                        Deposit provided by such Successful Bidder (or Alternate Bidder, as applicable),
                        which may be retained by the Debtors as liquidated damages, in addition to any
                        and all rights, remedies, or causes of action that may be available to the Debtors
                        and their estates.


          30.     The Bidding Procedures recognize the Debtors’ fiduciary obligations to maximize

   value and, as such, do not impair the Debtors’ ability to consider all proposals. As noted above,

   the Bidding Procedures preserve the Debtors’ right to modify the Bidding Procedures to best

   promote the goals of the marketing and bidding process, including, maximizing value for the

   Debtors’ estates. Importantly, the Bidding Procedures also allow the Debtors to abandon the

   pursuit of the sale process respecting the Corrections Assets and solely focus on the Equitization




                                                  31
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 32 of 70




Restructuring if no actionable Bids are received or if continuing such sale process appears to

become, on balance, a waste of estate resources.

     The Recovery Solutions Stalking Horse Agreement and the Recovery Solutions Expense
                                      Reimbursement 8

I.        The Recovery Solutions Stalking Horse Agreement.

          31.      Following arms’-length and good faith negotiations, the Debtors and RS Purchaser

LLC (the “Recovery Solutions Stalking Horse Bidder”) have agreed in principle to the Recovery

Solutions Stalking Horse Agreement, whereby the Recovery Solutions Stalking Horse Bidder will

purchase substantially all of the Recovery Solutions Assets. The Recovery Solutions Stalking

Horse Agreement includes various customary representations, warranties and covenants by and

from the parties thereto. In addition, the Recovery Solutions Stalking Horse Agreement includes

certain conditions to closing the contemplated Recovery Solutions and rights of termination related

to these chapter 11 cases.

          32.      The Recovery Solutions Stalking Horse Bidder has also agreed to act as an

Alternate Bidder (as defined below) and, as such, if selected as an Alternate Bidder, hold open its

binding offer to purchase the Recovery Solutions Assets for a period of time after the Auction in

case the Successful Bid (as defined below) is not timely consummated, in accordance with the

Bidding Procedures.

          33.      The Debtors submit that the Recovery Solutions Stalking Horse Agreement

promotes competitive bidding and maximizes of the value of the Recovery Solutions Assets by

establishing a baseline Bid for the Recovery Solutions Assets, which is subject to higher or

otherwise better offers at the Auction, including a Bid for a Consolidated Asset Sale Transaction.



8
      Capitalized terms used but not otherwise defined in this section shall have the meaning ascribed to them in the
      Bidding Procedures or the Recovery Solutions Stalking Horse Agreement, as applicable.



                                                         32
             Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 33 of 70




             34.      The material terms of the Recovery Solutions Stalking Horse Agreement are

   summarized in the following table: 9

       Requirement                                                    Description
Parties                       Seller: Wellpath Holdings, Inc., and the subsidiaries listed in the Recovery
                              Solutions Stalking Horse Agreement
See preamble                  Purchaser: RS Purchaser LLC
Purchase Price                The aggregate consideration shall be (a) the full release of Sellers that are
                              obligors or guarantors under the DIP Facility of all Liabilities arising under, or
See § 3.1                     otherwise relating to, the DIP Facility, in an aggregate amount equal to
                              $375,000,000 under Section 363(k) of the Bankruptcy Code, as the same may be
                              increased by Buyer at the direction of the Required Lenders with respect to the
                              DIP Facility; and (b) the assumption by Buyer or any of its applicable Buyer
                              Designees, as applicable, of the Assumed Liabilities from Sellers.

Acquired Assets               All of Sellers’ direct or indirect right, title and interest in, to or under the RS
                              Business, including all of Sellers’ properties, rights, Claims and assets (other than
See § 2.1                     the Excluded Assets) of every kind and description (wherever situated or located,
                              real, personal or mixed, tangible or intangible, whether identifiable or contingent,
                              owned, leased or licensed) primarily used, held for use in, or useful in, or
                              intended to be primarily used in, the RS Business, whether or not reflected on the
                              books and records of Sellers, as the same shall exist on the Closing Date,
                              including the following:
                                   (a)      all Accounts Receivable;
                                   (b)      all Pre-Paid Expenses;
                                   (c)    all cash and cash equivalents in an amount not to exceed the Cash
                              Cap, including checks, commercial paper, treasury bills, certificates of deposit,
                              bank accounts and other bank deposits, instruments and investments of Sellers
                              primarily involving or primarily related to the RS Business, excluding prepaid
                              deposits related to professional fee retainers; provided, however, the Parties
                              acknowledge and agree that the Sellers shall use reasonable best efforts to have
                              an amount of cash and cash equivalents in an amount equal to the Cash Cap as
                              of the Closing;
                                   (d)      all Intellectual Property owned by the Sellers;
                                  (e)    all Equipment, whether owned or leased (and, to the extent leased,
                              any Contract or rights related thereto if such Contract is an Assumed Contract);

   9
         All capitalized terms used in this summary but not otherwise defined herein shall have the meanings ascribed to
         such terms in the Recovery Solutions Stalking Horse Agreement. To the extent that there are any conflicts
         between this summary and the Recovery Solutions Stalking Horse Agreement, the terms of the Recovery
         Solutions Stalking Horse Agreement shall govern.



                                                            33
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 34 of 70




Requirement                                       Description

                    (f)     all record and beneficial ownership in Equity Interests owned by the
               Sellers (and all rights related thereto of the Sellers) in each Acquired Company;
               provided, however, that Buyer may, in its sole and absolute discretion, amend or
               revise Schedule 2.1(f)(i) at any time and from time to time prior to the date that
               is two (2) Business Days prior to the Closing Date, in order to add any one or
               more of the direct or indirect Subsidiaries of the Sellers to such Schedule
               2.1(f)(ii) (and such added Subsidiary shall be automatically included as an
               Acquired Company for purposes of the Agreement), or remove any direct or
               indirect Subsidiary of the sellers from such Schedule 2.1(f)(i) (and such removed
               Subsidiary shall be automatically deemed an Excluded Company for purposes of
               the Agreement);
                    (g)     all inventory and products of any kind or nature, primarily involving
               or primarily related to the RS Business and maintained, held or stored by or for
               the Sellers on the Closing Date, whether or not prepaid, and wherever located,
               held or owned, and any prepaid deposits for any of the same (“Inventory”);
                    (h)      to the extent permitted by Legal Requirements, all Documents and
               other books and records (including financial and accounting files (but excluding
               the general corporate files and records of Sellers, insofar as they primarily
               involve or primarily relate to the RS Business)), and correspondence, and all
               customer sales, marketing, advertising, packaging and promotional materials,
               files, data, business software (whether written, recorded or stored on disk, film,
               tape or other media, and including all computerized data), drawings, other
               technical information and data, vendor lists, supplier lists, and all other business
               and other records solely to the extent primarily related to the RS Business;
                   (i)      all Assumed Contracts, and, with respect to any Plan that is an
               Assumed Contract and not an Acquired Company Plan, any and all assets, trust
               agreements, insurance policies, administrative services agreements, and other
               contracts, files, and records in respect thereof;
                    (j)    all Leased Real Property under any Lease that is an Assumed
               Contract (and any agreement and rights related thereto or under the applicable
               Lease to the extent that such agreement or Lease is an Assumed Contract)
               together with all interests in and to all Improvements located thereon or attached
               thereto, and other appurtenances thereto, and rights in respect thereof including
               all Other Rights and Interests in respect thereof;
                   (k)     all security deposits with respect to any Lease that is an Assumed
               Contract;
                    (l)     all rights under or arising out of all third-party insurance policies
               related to the RS Business (other than director and officer insurance policies),
               including third-party property and casualty insurance proceeds and other
               insurance proceeds (solely for the sake of clarity, this subsection (n) shall not
               include any self-insured policies of Sellers or any of their Affiliates);



                                         34
            Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 35 of 70




    Requirement                                           Description

                            (m)    all goodwill and customer referral relationships, other intangible
                       property and all privileges, set-offs, indemnification rights, causes of action,
                       actions, Claims and demands and rights of any kind as against others (whether
                       by contract or otherwise) exclusively involving or exclusively relating to, arising
                       from or associated with any of the Acquired Assets, the Assumed Liabilities
                       and/or the RS Business;
                           (n)     all Acquired Avoidance Actions;
                           (o)     all Permits that primarily involve or primarily relate to the RS
                       Business, to the extent transferable, including those designated as “Transferred
                       Permits” on Schedule 2.1(o) (the “Transferred Permits”);
                            (p)     all Causes of Actions of the Sellers of any kind relating to the RS
                       Business against any Buyer Employee (excluding the proceeds of any insurance
                       policies held by the Sellers or any of their Affiliates related to any such Causes
                       of Action) arising at any time prior to the Closing, which such Causes of Actions
                       shall be, and effective immediately upon Closing hereby are, waived and released
                       in full by Buyer or Buyer Designee immediately upon Closing;
                            (q)     all claims, interests, rights, rebates, refunds, abatements, remedies,
                       recoveries and benefits of Sellers, and all claims and causes of action (other than
                       with respect to Taxes), arising under or relating to any of the Acquired Assets,
                       the Assumed Liabilities or the RS Business, including those arising out of
                       Assumed Contracts, express or implied warranties, representations, licenses and
                       guarantees from suppliers, manufacturers, contractors or others solely to the
                       extent relating to the operation of the RS Business or affecting the Equipment,
                       Improvements, Inventory or other tangible Acquired Assets or ordered by the
                       Sellers prior to the Closing Date (and in any case, any component thereof);
                            (r)     all rights, but not obligations, under non-disclosure or
                       confidentiality, non-compete, or non-solicitation agreements with former
                       employees and agents of Sellers or with third parties with respect to the RS
                       Business (including any non-disclosure or confidentiality, non-compete, or non-
                       solicitation agreements entered into in connection with or in contemplation of the
                       Auction);
                            (s)     all telephone, telex and telephone facsimile numbers and other
                       directory listings; and
                           (t)     all assets, if any, listed on Schedule 2.1(t) (regardless of whether
                       such assets are covered by any of the foregoing).


Excluded Assets             (a)    subject to Section 2.1(h), the limited liability company, partnership
                       and corporate books and records of internal limited liability company,
See § 2.2              partnership and corporate proceedings, minute books, organizational or
                       governing documents, stock ledgers, Tax records, work papers and other records


                                                 35
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 36 of 70




Requirement                                       Description
               of Sellers as they pertain to ownership, organization, qualification to do business
               or existence of Sellers; provided, however, that copies of the foregoing items
               (including copies of Tax records and work papers of Sellers) shall be made
               available by Sellers to Buyer at Buyer’s reasonable request, provided, however,
               that with respect to Tax Returns of the Seller, at the reasonable request of Buyer,
               Seller shall make available to Buyer all information contained in its Tax Returns
               relating to the Tax attributes or otherwise to the Tax matters of the RS Business
               or the Acquired Assets for periods (or portions thereof) commencing after the
               Closing Date or of the Acquired Companies;
                   (b)     any Contract that is not an Assumed Contract;
                   (c)     any Excluded Company;
                    (d)     all assets not primarily used, held for use in, or useful in, or not
               intended to be primarily used in the RS Business, including those primarily used,
               held for use in, or useful in, or intended to be used in, the Corrections Business;
                    (e)    all current and prior director and officer insurance policies of the
               Sellers and all rights of any nature with respect thereto, including all insurance
               recoveries thereunder and rights to assert claims with respect to any such
               insurance recoveries;
                    (f)    all Causes of Action, including any proceeds thereof, other than any
               such Causes of Action that relate to, or constitute a part of, the Acquired Assets
               (including the Acquired Assets described in Section 2.1(n);
                    (g)     all rights under or arising out of all (i) self-insurance policies of
               Sellers or any of their Affiliates related to the RS Business or otherwise and (ii)
               third-party insurance policies related to the Corrections Business, including third
               party property and casualty insurance proceeds and other insurance proceeds;
                    (h)     any employment-related or compensation-related Contracts
               (including the Non-Acquired Company Plans not otherwise assumed pursuant to
               Section 2.1(i)), collective bargaining agreements, and books and records, in each
               case, relating to employees who are not directly employed by an Acquired
               Company as of the Closing and any Contracts listed on Schedule 2.2(h)
               (including any personnel and employment records for such employees and
               former employees of the Sellers or the Acquired Companies);
                    (i)     the general corporate files and records of Sellers, insofar as they
               relate to the organization, existence or capitalization of the applicable Seller, as
               well as any other records or materials relating to the Sellers generally and not
               primarily involving or primarily related to the Acquired Assets or the operations
               of the RS Business; provided, that copies of such files and records shall be made
               available to Buyer upon reasonable request to the extent permitted by applicable
               law and related to the RS Business;
                   (j)     all insurance policies of the Sellers;



                                         36
            Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 37 of 70




    Requirement                                           Description

                            (k)      documents (i) that Sellers are required by Legal Requirements to
                       retain, (ii) that if transferred would violate any applicable Legal Requirements
                       (including with respect to privacy) or (iii) that are subject to any attorney-client,
                       work product or similar privilege with respect to work performed in anticipation
                       of or in connection with the preparation or administration of the Bankruptcy
                       Cases, the Recovery Solutions Stalking Horse Agreement or the transactions
                       contemplated by the Recovery Solutions Stalking Horse Agreement;
                            (l)    all Causes of Action, including any proceeds thereof, other than any
                       such Causes of Action that relate to, or constitute a part of, the Acquired Assets
                       (including the Acquired Avoidance Actions described in Section 2.1(n);
                            (m)     all credits, deposits, prepaid amounts and other rights to refunds of
                       (i) Taxes of the RS Business paid by or with respect to the Sellers which refunds
                       are attributable to Pre-Closing Tax Periods, (ii) Taxes that are attributable to the
                       Corrections Business and (iii) Taxes that are Excluded Liabilities;
                            (n)     all cash and cash equivalents in excess of the Cash Cap, including
                       checks, commercial paper, treasury bills, certificates of deposit, bank accounts
                       and other bank deposits, instruments and investments of Sellers primarily
                       involving or primarily related to the RS Business, excluding prepaid deposits
                       related to professional fee retainers; and
                           (o)     any rights, claims or causes of action of Sellers under the Recovery
                       Solutions Stalking Horse Agreement or any other Transaction Document.
Assumed Liabilities         (a)     all Liabilities under the Assumed Contracts that are required to be
                       performed after the Closing Date (including sponsorship of any Plan that is an
See § 2.3              Assumed Contract and all Liabilities under or related thereto), solely to the extent
                       they arise or relate to periods of time after the Closing Date; provided, however,
                       that Buyer shall assume the obligations to pay all (i) outstanding trade payables
                       in accordance with Section 2.3(b) and (ii) Cure Costs in excess of the Seller Cure
                       Cap.
                            (b)    trade payables related to the Acquired Assets incurred in the ordinary
                       course of the RS Business, as agreed in good faith by the Sellers and Buyer prior
                       to the Closing;
                           (c)     Liabilities arising out of operation of the Acquired Assets for periods
                       on or following the Closing Date; and
                           (d)    all Liabilities with respect to Taxes imposed on the RS Business or
                       the Acquired Assets that are attributable to any Post-Closing Tax Period.
                       .
Excluded Liabilities
                           (a)     all Liabilities with respect to the Deferred One Year Cash Payment
                       and any related Liabilities arising under either the Alpine Purchase Agreement
See § 2.4              or Settlement Agreement;



                                                  37
            Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 38 of 70




    Requirement                                            Description

                            (b)     all Liabilities with respect to Employees, former employees, or
                       current or former directors, officers, consultants or contractors (and, in each case,
                       their respective representatives or beneficiaries) of the Sellers or Acquired
                       Companies for any action or inaction of any of the Sellers or Acquired
                       Companies occurring prior to or on the Closing Date, including payroll, vacation,
                       sick leave, unemployment benefits, notice pay, retirement benefits, pension
                       benefits, collective bargaining agreements, disputes, grievances, arbitrations,
                       claims, employment agreements or arrangements, severance, WARN Act,
                       retention or termination agreements or arrangements, employee stock option,
                       equity compensation, equity-based compensation, employee stock purchase,
                       employee benefits, Plans, compensation arrangements, profit sharing plans,
                       health care and other welfare plans or benefits, or any other employee plans,
                       agreements, policies, or arrangements or benefits or other compensation of any
                       kind;
                           (c)    all Liabilities, whether arising before, on or after the Closing Date,
                       with respect to any employee or former employee of any Seller or Acquired
                       Company who does not become a Buyer Employee; and
                            (d)     all Liabilities arising out of, relating to or with respect to any Non-
                       Acquired Company Plan that is not an Assumed Contract.
Representations and    The Recovery Solutions Staking Horse Agreement contains customary
Warranties of the      representations and warranties, including, but not limited to, representations of
Sellers                the Sellers regarding: (a) organization and qualification; (b) authorization of
                       agreement; (c) conflicts, consents; (d) financial statements; (e) title to properties;
See Article 5          (f) contracts; (g) litigation; (h) permits, compliance with laws; (i) environmental
                       matters; (j) intellectual property; (k) tax matters; (l) assumed benefit plans; (m)
                       employees; (n) affiliate transactions; (o) brokers; and (p) disclaimer of other
                       representations and warranties.

Representations and    The Recovery Solutions Staking Horse Agreement contains customary
Warranties of Buyer    representations and warranties, including, but not limited to, representations of
                       Purchaser regarding: (a) organization and qualification; (b) authorization of
See Article 6          agreement; (c) brokers; (d) litigation; (e) conflicts, consents; and (f) disclaimer
                       of additional representations or warranties.

Sell Free and Clear    Sellers acknowledge and agree, and the Sale Order shall provide that, on the
                       Closing Date and concurrently with the Closing, all then existing or thereafter
See § 7.7              arising obligations, Liabilities and Liens (including, for the avoidance of doubt,
                       all successor liability, including any successorship obligations with respect to any
                       Plan) of, against or created by Sellers or their bankruptcy estate, shall be fully
                       released from and with respect to the Acquired Assets. On the Closing Date, the
                       Acquired Assets shall be transferred to Buyer and/or one or more Buyer
                       Designees, as applicable, free and clear of all obligations, Liabilities and Liens
                       (including, for the avoidance of doubt, all successor liability, including any



                                                  38
            Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 39 of 70




    Requirement                                          Description
                       successorship obligations with respect to any Plan or Contract), other than the
                       Permitted Liens and the Assumed Liabilities.

Closing Conditions
                       The Recovery Solutions Stalking Horse Agreement is subject to customary
See § 4.2              closing conditions, including: (a) accuracy of Seller and Buyer representations;
                       (b) performance of covenants and agreements; (c) no Order shall be in effect that
                       would restrain or prevent the consummation of or imposing material
                       modifications on the transactions contemplated by the Recovery Solutions
                       Stalking Horse Agreement; (d) expiration of any HSR or other applicable
                       antitrust waiting period; (e) Buyer and Seller closing deliveries (as described
                       below); (f) the Interim DIP Financing Order and the Final DIP Financing Orders
                       shall have become Final Orders; (g) the Bankruptcy Court shall have entered the
                       Sale Order in form and substance reasonably acceptable to Buyer, and the Sale
                       Order shall have become a Final Order; (h) the Bankruptcy Court shall have
                       approved and authorized the assumption and assignment of the Assumed
                       Contracts; (i) Buyer shall have received each consent, waiver, approval, order,
                       Permit or authorization of, or declaration or filing with, or notification to, any
                       Person or Governmental Authority listed on Schedule 9.9, in each case, in a form
                       reasonably satisfactory to Buyer; (j) no Material Adverse Effect shall have
                       occurred; (k) no Termination Event and no Event of Default (as defined in the
                       DIP Facility and DIP Financing Orders, as applicable) shall have occurred; and
                       (l) the RSA shall not have been terminated and shall be in full force and effect.

                       Buyer’s Deliveries. At the Closing, Buyer shall deliver (or cause one or more of
                       its Affiliates or Buyer Designees to deliver) to Sellers:

                               (a) the Assumption Agreement, duly executed by Buyer or the
                       applicable Buyer Designee;

                               (b) the Bills of Sale;

                              (c) the Intellectual Property Assignment Agreement, duly executed by
                       Buyer or the applicable Buyer Designee;

                               (d) the Transition Services Agreement, duly executed by Buyer;

                               (e) each other Transaction Document to which Buyer is a party, duly
                       executed by Buyer;

                               (f) the certificates of Buyer to be received by Sellers pursuant to
                       Sections 10.1 and 10.3; and

                              (g) such other documents as Sellers may reasonably request that are
                       customary for a transaction of this nature and necessary to evidence or



                                                 39
          Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 40 of 70




    Requirement                                         Description
                     consummate the transactions contemplated by the Recovery Solutions Stalking
                     Horse Agreement.

                     Sellers’ Deliveries. At the Closing, Sellers shall deliver to Buyer:

                             (a) the Bills of Sale, the Assumption Agreement, the Intellectual
                     Property Assignment Agreement, the Transition Services Agreement, and each
                     other Transaction Document to which any Seller is a party, duly executed by the
                     applicable Sellers;

                             (b) a copy of the Sale Order;

                             (c) the certificates of Sellers to be received by Buyer pursuant to
                     Sections 9.1 and 9.2;

                             (d) a valid IRS Form W-9 from each Seller or other certification of non-
                     foreign status for Sellers in a form and manner which complies with the
                     requirements of Section 1445 of the Code and the Treasury Regulations
                     promulgated thereunder;

                              (e) a certificate of good standing from each Acquired Company,
                     certified by the appropriate Governmental Authority in its jurisdiction of
                     incorporation or formation;

                              (f) the stock books, stock ledgers, minute books, corporate seals,
                     certificates of incorporation (or other organizational documents), check books
                     and statutory books of the Acquired Companies, in each case, to the extent in the
                     possession of the Sellers;

                               (g) a securities transfer agreement in substantially the form attached to
                     the Recovery Solutions Stalking Horse Agreement as Exhibit G in respect of the
                     Equity Interests of the Acquired Companies, duly executed by the applicable
                     Sellers, together with any required registrations thereof under applicable law; and

                              (h) such other documents as Buyer may reasonably request that are
                     customary for a transaction of this nature and necessary to evidence or
                     consummate the transactions contemplated by the Recovery Solutions Stalking
                     Horse Agreement, including the documents and instruments described in Article
                     9 of the Recovery Solutions Stalking Horse Agreement.
General Release               (a) Effective immediately following the Closing, each Seller for itself
                     and for its successors and assigns hereby fully and forever releases Buyer and its
See § 12.17          directors, officers, control persons (as defined in Section 15 of the Securities Act,
                     or Section 20 of the Exchange Act), members, employees, agents, attorneys,
                     financial advisors, consultants, legal representatives, shareholders, partners,
                     estates, successors and assigns solely in their capacity as such (collectively


                                                40
    Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 41 of 70




Requirement                                        Description
               referred to as the “Buyer Group” and each is individually a member of the Buyer
               Group), from any liability whatsoever on or otherwise in relation to all Seller
               Released Claims. For purposes of this Section 12.17(a), the term “Seller
               Released Claims” means any claim, counterclaim, setoff, recoupment, action or
               cause of action of any kind or nature whatsoever and other similar rights,
               demands, lawsuits and complaints, debts, losses, obligations, liabilities, rights,
               rights of recovery and damages of every kind or nature whatsoever, whether
               known or unknown, asserted or un-asserted, and whether for general, special,
               statutory, punitive or other damages, sanctions, costs, or attorney’s fees, or for
               equitable, declaratory, injunctive, reimbursement, or other relief, in each case
               including all derivative claims and whether currently pending or in process and
               whether arising in the past, present or future and in respect of any period of time
               (each a “Released Claim”) that Seller has or is entitled to make or assert, file or
               bring against the Buyer Group or any Person who is a member of the Buyer
               Group, including but not limited to any Released Claim that directly or indirectly
               arises out of, or is based upon, or in any manner connected with, or is in any way
               related to, (1) any loan, security, or forbearance or related agreement to which
               Buyer and/or Sellers are or were parties, (2) any act or omission by any Person
               that is or was a member of the Buyer Group, including in their capacity as a
               member on, or arising from their involvement with the activities of, the board of
               directors or similar governing body of any Seller or any Affiliate thereof
               (including pursuant to board observer rights), (3) any involvement of any Person
               that is or was a member of the Buyer Group with the Sellers or any business,
               litigation, or other activities of Sellers, (4) any oral or written statement made by
               any Person that is or was a member of the Buyer Group to any other Person
               regarding Sellers or any business, litigation, or other activities of Sellers, (5) any
               action taken by any Person that is or was a member of the Buyer Group regarding
               or relating to Sellers or any business, litigation, or other activities of Sellers, or
               (6) any personal, contractual, employment, business, or professional relationship,
               contact or communication between any Person that is or was a member of the
               Buyer Group and Sellers occurring at any time prior to the Closing Date.
               Notwithstanding anything set forth herein to the contrary, the releases set forth
               herein do not extend to (A) any obligations that are determined by a court of
               competent jurisdiction by final and non-appealable judgment to have resulted
               from the willful misconduct or gross negligence of such Person or (B) any
               obligations of the Parties under this Agreement (and any ancillary agreements or
               instruments delivered pursuant hereto, the DIP Facility, the First Lien Credit
               Agreement, and the transactions contemplated hereby and thereby.
                        (b) Effective immediately following the Closing, Buyer, for itself and its
               successors and assigns, hereby fully and forever releases and discharges each
               Seller and its Affiliates and each of their respective former, current or future,
               direct or indirect, equity holders, officers, employees, directors, agents, advisory
               board members, representatives, owners, members, partners, employees,
               management companies, direct and indirect parent entities, “controlling persons”


                                          41
      Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 42 of 70




 Requirement                                            Description
                     (within the meaning of federal securities law), heirs, administrators and
                     executors, financial advisors, legal advisors, shareholders, managers, principals,
                     consultants, accountants, attorneys, actuaries, investment bankers and other
                     professionals in each case acting in such capacity whether current or former,
                     including in their capacity as directors of the Seller, as applicable (all such
                     Persons collectively referred to as the “Sellers Group” and each is individually a
                     member of the Seller Group), from any liability whatsoever on or otherwise in
                     relation to all Buyer Released Claims. For purposes of this Section 12.17(b), the
                     term “Buyer Released Claims” means any Released Claim that Buyer has or is
                     entitled to make or assert, file or bring against any Person who is a member of
                     the Seller Group based on or relating to, or in any manner arising from, in whole
                     or in part, the business operations of the RS Business, including but not limited
                     to (i) any Released Claim that directly or indirectly arise out of, are based upon,
                     or in any manner connected with any Prior Event and (ii) any Causes of Actions
                     included in the Acquired Assets pursuant to Section 2.1(p). For purposes of this
                     Section 12.17(b), the term “Prior Event” means any transaction, event,
                     circumstances, action, failure to act or occurrence of any sort or type based on or
                     relating to, or in any manner arising from, in whole or in part, the business
                     operations of the RS Business, including without limitation any approval or
                     acceptance given or denied, whether known or unknown, which occurred,
                     existed, was taken, permitted or begun prior to the consummation of the
                     transactions contemplated hereunder. For the avoidance of doubt, “Prior Event”
                     shall include but is not limited to any transaction, event, circumstances, action,
                     failure to act or occurrence of any sort or type which occurred, existed, was taken,
                     permitted or begun in accordance with, pursuant to or by virtue of: (i) any terms
                     of this Agreement, (ii) the transactions referred to herein, or (iii) any oral or
                     written agreement relating to the foregoing (i) and (ii) of this sentence.
                               (c) Without limiting in any way the scope of the release contained in
                     subparagraph (a) or (b) of this Section 12.17 and effective upon the Closing Date,
                     each Seller and Buyer, to the fullest extent allowed under applicable law, hereby
                     waives and relinquishes for itself and the other members of the Sellers Group and
                     Buyer Group, as applicable, all statutory and common law protections purporting
                     to limit the scope or effect of a general release, whether due to lack of knowledge
                     of any claim or otherwise, including, waiving and relinquishing the terms of any
                     law which provides that a release may not apply to material unknown claims.
                     Each Seller and Buyer hereby affirm its intent to waive and relinquish such
                     unknown Claims and to waive and relinquish any statutory or common law
                     protection available in any applicable jurisdiction with respect thereto.

II.    The Recovery Solutions Expense Reimbursement.

       35.     The Debtors seek authorization to enter into the transaction contemplated by the

Recovery Solutions Stalking Horse Agreement unless a higher or otherwise better Qualified Bid


                                               42
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 43 of 70




(as defined below) is submitted with respect to the Recovery Solutions Assets, as determined by

the Debtors (in consultation with the Consultation Parties) in accordance with the Bidding

Procedures, and for the Recovery Solutions Stalking Horse Bid to serve as the minimum bid for

the Recovery Solutions Assets.

        36.     Recognizing the Recovery Solutions Stalking Horse Bidder’s expenditure of time,

energy and resources in connection with the proposed transaction set forth in the Recovery

Solutions Stalking Horse Agreement, and the benefit that those efforts provided to the Debtors,

their estates and creditors, and all other parties in interest, the Debtors agreed that, in the event that

the Recovery Solutions Stalking Horse Agreement is terminated, pursuant to the provisions thereof

(other than for breach thereof by the Recovery Solutions Stalking Horse Bidder), or in the event

that the purchase of the Recovery Solutions Assets is ultimately consummated by any person other

than the Recovery Solutions Stalking Horse Bidder, the Debtors will reimburse the Recovery

Solutions Stalking Horse Bidder (at the time required under the Recovery Solutions Stalking Horse

Agreement) for its reasonable and documented out-of-pocket expenses in conjunction with the

Recovery Solutions Stalking Horse Bid up to a maximum amount of $2,000,000 (the “Recovery

Solutions Expense Reimbursement”); provided that the payment of Recovery Solutions Expense

Reimbursement shall be subject to the terms and conditions of the Recovery Solutions Stalking

Horse Agreement and the Bidding Procedures Order.

III.    The Stalking Horse Bidder(s) and Bid Protections for the Corrections Assets.

        37.     The Debtors believe that having the maximum flexibility to run their sale process

would produce the highest recovery for all stakeholders.              Accordingly, the Debtors seek

authorization, but not direction, in accordance with the Bidding Procedures, to exercise their

business judgment (in consultation with the Consultation Parties) to select one or more Acceptable



                                                   43
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 44 of 70




Bidders to act as a Corrections Asset(s) Stalking Horse Bidder (such Acceptable Bidder’s Bid, the

“Corrections Asset(s) Stalking Horse Bid”) and enter into a purchase agreement with respect to

such proposed Corrections Asset(s) Sale Transaction with such Corrections Asset(s) Stalking

Horse Bidder (each such agreement, a “Corrections Asset(s) Stalking Horse Agreement” and,

together with the Recovery Solutions Stalking Horse Agreement, the “Stalking Horse

Agreements”).

       38.      In order to incentivize prospective purchasers to agree to become a Corrections

Asset(s) Stalking Horse Bidder, the Debtors seek authorization, but not direction, to exercise their

business judgment to offer (in consultation with the Consultation Parties) the following bid

protections to such Corrections Asset(s) Stalking Horse Bidder(s), payable if the Debtors

consummate a sale pursuant to a Qualified Bid other than the Corrections Asset(s) Stalking Horse

Bid (if the assets subject to such sale include those to which the Stalking Horse Bid relates):

(a) payment of a breakup fee (other than a Corrections Asset(s) Stalking Horse Bidder that is a

Secured Party (as defined herein)) in an amount not to exceed three percent of the cash portion of

the applicable Purchase Price (the “Corrections Asset(s) Breakup Fee”) and (b) reimburse the

Corrections Asset(s) Stalking Horse Bidder’s reasonable and documented out-of-pocket fees and

expenses incurred in connection with preparation and negotiation of the Corrections Asset(s)

Stalking Horse Bid in an amount up to $1,000,000 (the “Corrections Asset(s) Expense

Reimbursement” and, together with the Corrections Asset(s) Breakup Fee, the “Corrections

Asset(s) Bid Protections”); provided that (y) the payment of any Corrections Asset(s) Bid

Protections shall be subject to the terms and conditions of the definitive agreement(s) executed

between the Debtors and such Corrections Asset(s) Stalking Horse Bidder(s) and (ii) any

Corrections Asset(s) Bid Protections will not be binding on the Debtors until the approval of such



                                                44
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 45 of 70




Corrections Asset(s) Bid Protections in accordance with these Bidding Procedures. To the extent

payable, any Corrections Asset(s) Bid Protections would be paid out of the proceeds of the sale to

which they relate.

       39.     In the event that the Debtors, in consultation with the Consultation Parties, desire

to designate a Qualified Bid as a Corrections Asset(s) Stalking Horse Bid, the Debtors would file

with the Court a notice (a “Corrections Asset(s) Stalking Horse Notice”) that (a) sets forth the

identity of the Corrections Asset(s) Stalking Horse Bidder, (b) sets forth the amount of the

Corrections Asset(s) Stalking Horse Bid and what portion of the Corrections Asset(s) Stalking

Horse Bid (if any) would be in the form of cash, (c) identifies the Corrections Assets (or Auction

Lot) to be purchased and the contracts and leases to be assumed, (d) states whether the Corrections

Asset(s) Stalking Horse Bidder has any connection to the Debtors other than those that arise from

the Corrections Asset(s) Stalking Horse Bid, (e) specifies any proposed Corrections Asset(s) Bid

Protections, and (f) attaches a copy of the Corrections Asset(s) Stalking Horse Agreement (or

chapter 11 plan of reorganization), including all exhibits, schedules, and attachments thereto, and

serve the Corrections Asset(s) Stalking Horse Notice on the U.S. Trustee, counsel to each of the

Consultation Parties, and those parties who have filed the appropriate notice pursuant to

Bankruptcy Rule 2002 requesting notice of all pleadings filed in these chapter 11 cases

(collectively, the “Corrections Asset(s) Stalking Horse Notice Parties”), with no further notice

being required.

       40.     The Corrections Asset(s) Stalking Horse Notice would also specify the deadline to

file objections (the “Corrections Asset(s) Stalking Horse Objections”) to the designation of the

Corrections Asset(s) Stalking Horse Bidder, the terms of the Corrections Asset(s) Stalking Horse

Bid, or the Corrections Asset(s) Bid Protections set forth therein, which deadline (the “Corrections




                                                45
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 46 of 70




Asset(s) Stalking Horse Objection Deadline”) shall be no earlier than three business days after

service of the Corrections Asset(s) Stalking Horse Notice on the Corrections Asset(s) Stalking

Horse Notice Parties. The Corrections Asset(s) Stalking Horse Objections must (a) be in writing,

(b) comply with the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the

Procedures for Complex Cases in the Southern District of Texas (the “Complex Procedures”), (c)

state, with specificity, the legal and factual bases thereof, and (d) be filed with the Court and served

on the Debtors and the Corrections Asset(s) Stalking Horse Notice Parties by the Corrections

Asset(s) Stalking Horse Objection Deadline.

        41.     If a timely Corrections Asset(s) Stalking Horse Objection is filed and served, to the

extent not resolved consensually, the Debtors may schedule a hearing before the Court to be held

on an expedited basis (on not less than three-days’ notice) seeking authorization to enter into the

Corrections Asset(s) Stalking Horse Agreement (including the Corrections Asset(s) Bid

Protections contained therein) (a “Corrections Asset(s) Stalking Horse Hearing”).

        42.     If no timely Corrections Asset(s) Stalking Horse Objection is filed and served, upon

the expiration of the Corrections Asset(s) Stalking Horse Objection Deadline, the Debtors may file

with the Court a certificate of no objection and, upon such filing, (a) the Debtors’ designation of

the Corrections Asset(s) Stalking Horse Bidder and agreement respecting the Corrections Asset(s)

Bid Protections shall be deemed approved and (b) the Debtors may enter into the Corrections

Asset(s) Stalking Horse Agreement (including a chapter 11 plan of reorganization), in each case

without further notice or opportunity to be heard. Upon the approval by the Court at a Corrections

Asset(s) Stalking Horse Hearing for the Debtors to enter into the Corrections Asset(s) Stalking

Horse Agreement (including the Corrections Asset(s) Bid Protections contained therein), or upon

the Debtors’ filing a CNO, the Corrections Asset(s) Stalking Horse Bidder shall be the




                                                  46
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 47 of 70




“Corrections Asset(s) Approved Stalking Horse Bidder,” its Corrections Asset(s) Stalking Horse

Bid shall be the “Corrections Asset(s) Approved Stalking Horse Bid,” and the Corrections Asset(s)

Bid Protections contained therein (if any) shall be the “Corrections Asset(s) Approved Bid

Protections.”

                                   The Noticing Procedures

       43.      The Debtors propose the following “Noticing Procedures”:

   a. Sale Notice and Publication. As soon as reasonably practicable after entry of the Bidding
      Procedures Order, the Debtors shall cause the Sale Notice to be served (by email if
      available or otherwise by first class mail) upon the following: (i) the Office of the United
      States Trustee for the Southern District of Texas (the “U.S. Trustee”); (ii) the holders of
      the 30 largest unsecured claims against the Debtors (on a consolidated basis); (iii) counsel
      to the DIP Lenders; (iv) counsel to the Ad Hoc Group; (v) counsel to the Prepetition First
      Lien Administrative Agent; (vi) counsel to the Prepetition Second Lien Administrative
      Agent; (vii) Counterparties to Contracts; (viii) all potential buyers previously identified or
      solicited by the Debtors or their advisors and any additional parties who have previously
      expressed an interest to the Debtors or their advisors in potentially acquiring the Debtors’
      assets; (ix) all other entities known to have asserted or hold any lien, claim, interest, or
      encumbrance in or upon the applicable Assets; (xi) the state attorneys general for states in
      which the Debtors conduct business; (xii) the Internal Revenue Service; (xiii) the Securities
      and Exchange Commission; and (xiv) any party identified in section E of the Procedures
      for Complex Cases in the Southern District of Texas (collectively, the “Sale Notice
      Parties”); provided that the Debtors need not serve the Sale Notice on any party for whom
      the Debtors are unable to obtain, after reasonable diligence, an email or physical address
      as of the entry of the Bidding Procedures Order; provided, further, that the Debtors shall
      not be obligated to provide supplemental service of the Sale Notice with respect to any Sale
      Notice that is returned as undeliverable so long as the Debtors have confirmed that any
      such Sale Notice was sent to the applicable email or physical address on file in the Debtors’
      books and records and no other email or physical address could be obtained after
      reasonable diligence. The Debtors would also cause the Sale Notice to be published once
      in the national edition of USA Today or another publication with similar national circulation
      as soon as practicable following entry of the Bidding Procedures Order and would post the
      Sale Notice and the Bidding Procedures Order on the Debtors’ case information website
      located at https://dm.epiq11.com/Wellpath (the “Case Information Website”). This
      publication of the Sale Notice would provide notice of the sale to any other interested
      parties whose identities are unknown to the Debtors. The Sale Notice would include,
      among other things, the date, time, and place of any Auction and Sale Hearing and the
      deadline for filing any objections relating to the Bidding Procedures or any Sale
      Transactions, once they are set by the Court.

   b. Notice of Determination of Qualified Bids. The Debtors, in consultation with the
      Consultation Parties, would make a determination regarding which Bids qualify as


                                                47
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 48 of 70




       Qualified Bids. Prior to any Auction, the Debtors would (i) notify each Qualified Bidder
       that has timely and properly submitted a Qualified Bid that its bid is a Qualified Bid and
       (ii) provide all Qualified Bidders with respect to the Assets such Qualified Bid relates with
       (A) a copy of the Starting Bid, (B) an explanation of how the Debtors value the Starting
       Bid, and (C) a list identifying all of the Qualified Bidders and their respective Qualified
       Bids.

   c. Notice of Hearing if Auction Not Held. If (i) no more than one Qualified Bid is submitted
      by the applicable Bid Deadline (whether the Recovery Solutions Stalking Horse Bid, a
      Corrections Asset(s) Approved Stalking Horse Bid, or otherwise) or (ii) multiple Partial
      Bids are submitted by the applicable Bid Deadline for non-overlapping SF Assets and LG
      Assets, the Debtors may elect to cancel the applicable Auction and seek approval of the
      proposed Sale Transaction(s) contemplated in the Recovery Solutions Stalking Horse Bid,
      such Corrections Asset(s) Approved Stalking Horse Bid, Qualified Bid that is not either a
      Recovery Solutions Stalking Horse Bid or Corrections Asset(s) Approved Stalking Horse
      Bid, or Partial Bids, as applicable, at the applicable Sale Hearing. If no Auction is
      conducted, the Debtors would file with the Court, serve on the Sale Notice Parties, and
      cause to be published on the Case Information Website a notice (i) indicating that the
      Auction for the Assets has been canceled, (ii) indicating that the Recovery Solutions
      Stalking Horse Bid, the Corrections Asset(s) Approved Stalking Horse Bid, the Qualified
      Bid, or the Partial Bid(s) (as applicable) is or are the Successful Bid(s) with respect to any
      of the Assets, and (iii) setting forth the date and time of the Sale Hearing.

   d. Post-Auction Notice. Promptly following the selection of the Successful Bid(s) and
      Alternate Bid(s), the Debtors shall file a notice of the Successful Bid(s) and any Alternate
      Bid(s) (the “Post-Auction Notice”) with the Court and cause the Post-Auction Notice to be
      published on the Case Information Website.

       44.     The Noticing Procedures constitute adequate and reasonable notice of the key dates

and deadlines for the sale process, including, among other things, the objection deadline, the Bid

Deadlines, and the times and locations of the Auctions and Sale Hearings. Accordingly, the

Debtors request that the Court find that the Noticing Procedures are adequate and appropriate under

the circumstances and comply with the requirements of Bankruptcy Rule 2002 and the Complex

Procedures.

                           Assumption and Assignment Procedures

       45.     In connection with the Sale Transaction(s), the Debtors anticipate that they would

assume and assign to the Successful Bidder (or its designated assignee(s)) all or certain of the

Assumed Contracts pursuant to section 365(b) of the Bankruptcy Code. Accordingly, the Debtors


                                                48
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 49 of 70




hereby also seek approval of the proposed Assumption and Assignment Procedures set forth

herein, which are designed to, among other things, (a) outline the process by which the Debtors

would serve notice to all Counterparties regarding the potential assumption and assignment, related

Cure Costs, if any, and information regarding the Successful Bidder’s adequate assurance of future

performance and (b) establish objection and other relevant deadlines and the manner for resolving

disputes relating to assumption and assignment of the Assumed Contracts. Specifically, the

Assumption and Assignment Procedures are as follows:

   a. Potential Assumed Contracts Schedule. As soon as reasonably practicable following
      entry of the Bidding Procedures Order, the Debtors shall file with the Court, and cause to
      be published on the Case Information Website, the Potential Assumption and Assignment
      Notice and a list of the Potential Assumed Contracts (the “Potential Assumed Contracts
      Schedule”) that specifies (i) each of the Contracts that potentially could be assumed and
      assigned in connection with the sale of the Assets, including the name of each
      Counterparty, and (ii) the proposed Cure Cost with respect to each Potential Assumed
      Contract.

   b. Potential Assumption and Assignment Notice. The Debtors shall, as soon as reasonably
      practicable after entry of the Bidding Procedures Order (but in any event, so as to provide
      sufficient notice such that any required responses from any Counterparties are due prior to
      the scheduled date of the Auction as specified in the Bidding Procedures), file, cause to be
      published on the Case Information Website, and serve on each relevant Counterparty the
      Potential Assumption and Assignment Notice, which shall (i) include the Potential
      Assumed Contracts Schedule, (ii) list the Debtors’ good faith calculation of the Cure Costs
      with respect to the Potential Assumed Contracts identified on the Potential Assumed
      Contracts Schedule, (iii) expressly state that assumption or assignment of an Assumed
      Contract is not guaranteed and is subject to designation by the Successful Bidder and Court
      approval, (iv) prominently display the deadline to file an Assumption and Assignment
      Objection (as defined herein), and (v) prominently display the date, time, and location of
      the Sale Hearing.

   c. Proposed Assumption and Assignment Notice. The Debtors shall, in conjunction with
      the filing of the Post-Auction Notice, file, cause to be published on the Case Information
      Website, and serve on each relevant Counterparty the Proposed Assumption and
      Assignment Notice, which shall (i) include a schedule of the Proposed Assumed Contracts
      (the “Proposed Assumed Contracts Schedule”) as agreed between the Debtors and the
      Successful Bidder, (ii) expressly state that assumption or assignment of an Assumed
      Contract is not guaranteed and is subject to Court approval, (iii) prominently display the




                                                49
   Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 50 of 70




   deadline to file an Assumption and Assignment Objection, and (iv) prominently display
   the date, time, and location of the Sale Hearing.

d. Assumption and Assignment Objections.

     i.   Objection Deadlines. A Counterparty may object to the potential or proposed
          assumption or assignment of its Assumed Contract, the Debtors’ proposed Cure
          Costs, if any, or the ability of a Successful Bidder to provide adequate assurance of
          future performance (an “Assumption and Assignment Objection”). All Assumption
          and Assignment Objections must (A) be in writing, (B) comply with the Bankruptcy
          Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the Complex
          Procedures, (C) state, with specificity, the legal and factual bases thereof, including,
          if applicable, the Cure Costs the Counterparty believes are required to cure any
          alleged defaults under the relevant Assumed Contract, (D)(1) for objections relating
          to proposed Cure Costs, be filed no later than December 11, 2024 at 4:00 p.m.
          (prevailing Central Time) (the “Cure Objection Deadline”) and (2) for all other
          objections, (x) December 18, 2024 at 4:00 p.m. (prevailing Central Time) for
          the Recovery Solutions / Consolidated Sale Transaction, and (y) January 31, 2025
          at 4:00 p.m. (prevailing Central Time) for any Corrections Asset(s) Sale
          Transaction (each an “Assumption and Assignment Objection Deadline”), and
          (E) be served on (1) proposed counsel to the Debtors, (i) proposed counsel to the
          Debtors, McDermott Will & Emery, LLP, 444 West Lake Street, Suite 4000
          Chicago, Illinois 60606-0029, Attn: Felicia Gerber Perlman, Bradley Thomas
          Giordano, Jake Jumbeck, Carole Wurzelbacher, and Carmen Dingman, and One
          Vanderbilt Avenue New York, New York 10017, Attn: Steven Z. Szanzer,
          (ii) counsel to the DIP Lenders and the Ad Hoc Group, Akin Gump Strauss Hauer
          & Feld, LLP, 2001 K Street N.W. Washington, DC 20006, Attn.: Scott L. Alberino
          and Kate Doorley, (iii) counsel to the Prepetition First Lien Administrative Agent
          and Prepetition Second Lien Administrative Agent, Cahill Gordon & Reindel LLP,
          32 Old Slip, New York, NY 10005, Attn: Joel H. Levitin (jlevitin@cahill.com) and
          Jordan A. Wishnew (jwishnew@cahill.com) and Norton Rose Fulbright US LLP,
          1550 Lamar Street, Suite 2000, Houston, TX 77010, Attn: Bob Bruner
          (bob.bruner@nortonrosefulbright.com), (iv) counsel to the Committee, and (v) the
          U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002, Attn: Susan
          Hersch and Ha Nguyen (collectively, the “Assumption and Assignment Objection
          Notice Parties”).

    ii.   Resolution of Assumption and Assignment Objections. If a Counterparty timely
          files an Assumption and Assignment Objection, such objection shall be heard at the
          applicable Sale Hearing or such later date that the Debtors, in their discretion and
          in consultation with the Successful Bidder, shall determine (subject to the Court’s
          calendar). If such objection has not been resolved prior to the closing of the Sale
          Transaction (whether by an order of the Court or by agreement with the
          Counterparty), each Successful Bidder may elect one of the following options:
          (A) treat such Counterparty’s Contract as property excluded from the Assets (an
          “Excluded Contract”) or (B) temporarily treat the Proposed Assumed Contract as
          an Excluded Contract (a “Designated Agreement”), proceed to the closing of the


                                            50
  Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 51 of 70




          Sale Transaction with respect to all other Assets, and determine whether to treat the
          Designated Agreement as an Assumed Contract or an Excluded Contract, within
          ten business days after resolution of such objection (whether by the Court’s order
          or by agreement of the Counterparty, the Debtors, and the applicable Successful
          Bidder).

   iii.   Failure To File Timely Assumption and Assignment Objection. If a Counterparty
          fails to timely and properly file with the Court and serve on the Assumption and
          Assignment Objection Notice Parties a timely Assumption and Assignment
          Objection, the Counterparty shall be forever barred from asserting any such
          objection with regard to the assumption or assignment of its Assumed Contract.
          Notwithstanding anything to the contrary in the Assumed Contract, or any other
          document, the Cure Costs set forth in the Potential Assumed Contracts Schedule or
          the Supplemental Assumed Contracts Schedule (as defined herein) shall be
          controlling and would be the only amount necessary to cure any alleged outstanding
          defaults under the applicable Assumed Contract under section 365(b) of the
          Bankruptcy Code arising out of or related to any events occurring prior to the
          closing of any Sale Transaction or other applicable date upon which such
          assumption and assignment would become effective, whether known or unknown,
          due or to become due, accrued, absolute, contingent, or otherwise, and the
          Counterparty shall be forever barred from asserting any additional cure or other
          amounts with respect to such Assumed Contract against the Debtors, the Successful
          Bidder, or the property of any of them.

e. Modification of Potential Assumed Contracts Schedule or Proposed Assumed
   Contracts Schedule.

     i.   In addition to the rights of the Successful Bidder described above with respect to
          an Assumption and Assignment Objection at or prior to the closing of a Sale
          Transaction, each Successful Bidder may elect to (A) exclude any Contract on the
          Potential Assumed Contracts Schedule as an Assumed Contract (in which case it
          shall become an Excluded Contract) or (B) include on the Proposed Assumed
          Contracts Schedule any Contract listed on the Potential Assumed Contracts
          Schedule, by providing to the Debtors written notice of its election to exclude or
          include such Contract, as applicable.

    ii.   If the Debtors or any Successful Bidder identify during the pendency of these
          chapter 11 cases (before or after the closing of the applicable Sale Transaction) any
          Contract that is not listed on the Proposed Assumed Contracts Schedule, and such
          Contract has not been rejected by the Debtors, such Successful Bidder may elect by
          written notice to the Debtors to treat such Contract as an Assumed Contract and the
          Debtors shall seek to assume and assign such Assumed Contract in accordance with
          the Assumption and Assignment Procedures.

   iii.   Following the conclusion of the applicable Auction, if any, and the selection of the
          Successful Bidder(s), the Debtors reserve the right, at any time before the closing
          of the Sale Transaction(s), to modify the previously-stated Cure Costs associated


                                           51
   Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 52 of 70




           with any Proposed Assumed Contract, subject to notice requirements in the
           Assumption and Assignment Procedures.

     iv.   In the event that any Contract is added to the Potential Assumed Contracts Schedule
           or Proposed Assumed Contracts Schedule or previously-stated Cure Costs are
           modified, in accordance with the procedures set forth in this Motion, the Debtors
           would promptly file, cause to be published on the Case Information Website, and
           serve a supplemental assumption and assignment notice, by email or ECF where
           available, or otherwise by first class mail, on the applicable Counterparty (each a
           “Supplemental Assumption and Assignment Notice”). Each Supplemental
           Assumption and Assignment Notice shall (A) include a schedule of the modified
           Potential Assumed Contracts Schedule or Proposed Assumed Contracts Schedule
           (the “Supplemental Assumed Contracts Schedule”), (B) expressly state that
           assumption or assignment of an Assumed Contract or is not guaranteed and is
           subject to Court approval, (C) prominently display the deadline to file a
           Supplemental Assumption and Assignment Objection (as defined below), and
           (D) prominently display the date, time, and location of the Sale Hearing.

     v.    Any Counterparty listed on a Supplemental Assumed Contracts Schedule whose
           Contract is proposed to be assumed and assigned may object to the proposed
           assumption or assignment of its Assumed Contract, the Debtors’ proposed Cure
           Costs (to the extent modified from the previously-stated amount), or the ability of
           a Successful Bidder to provide adequate assurance of future performance
           (a “Supplemental Assumption and Assignment Objection”). All Supplemental
           Assumption and Assignment Objections must (A) be in writing, (B) comply with
           the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and the
           Complex Procedures, (C) state, with specificity, the legal and factual bases thereof,
           including, if applicable, the Cure Costs the Counterparty believes are required to
           cure any alleged defaults under the relevant Assumed Contract, and (D) no later
           than 14 days from the date of service of such Supplemental Assumption and
           Assignment Notice, (1) be filed with the Court and (2) be served on the Assumption
           and Assignment Objection Notice Parties. Each Supplemental Assumption and
           Assignment Objection, if any, shall be resolved in the same manner as an
           Assumption and Assignment Objection.

f. Reservation of Rights. The inclusion of an Assumed Contract or Cure Costs with respect
   thereto on a Potential Assumption and Assignment Notice, Proposed Assumption and
   Assignment Notice, Potential Assumed Contracts Schedule, Proposed Assumed Contracts
   Schedule, Supplemental Assumption and Assignment Notice, or Supplemental Assumed
   Contracts Schedule shall not constitute, nor be deemed, a determination or admission by
   the Debtors, the Successful Bidder(s), or any other party in interest that such Contract is an
   executory contract or unexpired lease within the meaning of the Bankruptcy Code. The
   Debtors reserve all of their rights, claims, and causes of action with respect to each
   Assumed Contract listed on a Potential Assumption and Assignment Notice, Proposed
   Assumption and Assignment Notice, Supplemental Assumption and Assignment Notice,
   Potential Assumed Contracts Schedule, Proposed Assumed Contracts Schedule, or
   Supplemental Assumed Contracts Schedule. The Debtors’ inclusion of any Assumed


                                             52
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 53 of 70




       Contract on a Potential Assumption and Assignment Notice, Proposed Assumption and
       Assignment Notice, Supplemental Assumption and Assignment Notice, Potential Assumed
       Contracts Schedule, Proposed Assumed Contracts Schedule, and/or Supplemental
       Assumed Contracts Schedule shall not be a guarantee that such Assumed Contract
       ultimately would be assumed or assumed and assigned.

                                          Basis for Relief

  I.   The Bidding Procedures are Fair and Appropriate and Should Be Approved.

       46.     The Bidding Procedures are specifically designed to promote what courts have

deemed to be the paramount goal of any proposed sale of property of a debtor’s estate: maximizing

the value of sale proceeds received by the estate. See In re Johnson, 433 B.R. 626, 638 (Bankr.

S.D. Tex. 2010) (citing Cheng v. K&S Diversified Invs. (In re Cheng), 308 B.R. 448, 455 (B.A.P.

9th Cir. 2004)) (“The debtor in possession performing the duties of the trustee is the representative

of the estate and is saddled with the same fiduciary duty as a trustee to maximize the value of the

estate available to pay creditors.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564─65 (8th Cir.

1997) (recognizing that the main goal of any proposed sale of property of a debtor’s estate is to

maximize value). Courts uniformly recognize that procedures established to enhance competitive

bidding are consistent with the fundamental goal of maximizing value of a debtor’s estate. See In

re ASARCO, L.L.C., 650 F.3d 593, 603 (5th Cir. 2011) (affirming the bankruptcy court’s approval

of bid procedures designed to maximize the value of the debtor’s estate); Official Comm. of

Subordinated Bondholders v. Integrated Res. Inc. (In re Integrated Res. Inc.), 147 B.R. 650, 659

(S.D.N.Y. 1992) (observing that sale procedures “encourage bidding and . . . maximize the value

of the debtor’s assets”).

       47.     The Bidding Procedures provide for an orderly, uniform, and appropriately

competitive process through which interested parties may submit offers to purchase the Assets or

serve as an investor with respect to a Chapter 11 Plan Bid. Given the time constraints, the Debtors,

with the assistance of their advisors, have structured the Bidding Procedures to promote active


                                                 53
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 54 of 70




bidding by interested parties and to elicit the highest or otherwise best offer(s) reasonably available

for the Assets. Additionally, the Bidding Procedures would allow the Debtors to conduct the

Auction in a fair and transparent manner that would encourage participation by financially capable

bidders with demonstrated ability to consummate a timely Sale Transaction. Finally, the Bidding

Procedures explicitly provide that any Successful Bid (even a credit bid) for a Corrections Asset(s)

Sale Transaction or a Consolidated Asset Sale shall be subject to (a) the Debtors having sufficient

cash at the consummation of any such sale, as determined in consultation with the Consultation

Parties, to satisfy the Wind-Down Budget to pay all allowed, (i) post-petition claims, (ii)

administrative expense and priority claims, and (iii) professional fees and expenses necessary to

wind-down the Debtors’ estates in a reasonable and appropriate timeline and in consultation with

the Consultation Parties, and (b) the requirement that the net proceeds of any Corrections Asset(s)

Sale Transaction(s) or a Consolidated Asset Sale, pursuant to the Bidding Procedures, shall first

satisfy the Wind-Down Budget before repayment from such proceeds of any other claims against

the Debtors. As a result, the Debtors would have sufficient cash to administer the wind-down of

the Debtors’ estates subsequent to the closing of the Corrections Asset(s) Sale Transaction or the

Consolidated Asset Sale. Moreover, at the closing of a Corrections Asset(s) Sale Transaction or a

Consolidated Asset Sale, the Debtors intend to deposit the sale proceeds realized therefrom into a

segregated account held by the Debtors pending the ultimate resolution (either by agreement or

Court determination) and funding of the appropriate amount on account of the Wind-Down

Budget.    The Debtors shall not distribute any proceeds of any Corrections Asset(s) Sale

Transaction or a Consolidated Asset Sale prior to the funding of the Wind-Down Budget.




                                                  54
        Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 55 of 70




 II.    Designation of the Recoveries Solutions Stalking Horse Bidder, the Procedures for
        Designating a Corrections Asset(s) Stalking Horse Bidder, and Offering the Recovery
        Solutions Expense Reimbursement and the Corrections Asset(s) Bid Protections Have
        Sound Business Purposes and Should Be Approved.

        48.     Recognizing the Recovery Solutions Stalking Horse Bidder’s expenditure of time,

energy, and resources in connection with the proposed transaction set forth in the Recovery

Solutions Stalking Horse Agreement, and the benefit of those efforts provided to the Debtors and

their respective stakeholders, the Debtors agreed to provide the Recovery Solutions Expense

Reimbursement, payable if the Debtors consummate a sale pursuant to a Qualified Bid other than

the Recovery Solutions Stalking Horse Bid.                 Moreover, the Recovery Solutions Expense

Reimbursement was a necessary condition that was negotiated in good faith and at arm’s-length

as part of the Recovery Solutions Stalking Horse Agreement and is not anticipated to chill bidding.

        49.     In addition, to further facilitate a value-maximizing transaction for the Corrections

Assets, the Debtors recognized the importance of offering the Corrections Asset(s) Bid Protections

to, both to set a floor for the value of the Assets and to attract potential buyers to bid for such

assets. Accordingly, the Debtors believe that the Corrections Asset(s) Bid Protections would

maximize the realizable value of the Corrections Assets for the benefit of the Debtors’ estates,

their creditors, and all other parties in interest.

        50.     Approval of the Corrections Asset(s) Bid Protections is governed by standards for

determining the appropriateness of bid protections in the bankruptcy context. The Fifth Circuit

has held that bid protections should be approved in chapter 11 cases so long as (a) there was no

“self-dealing or manipulation among the parties who negotiated” the bid protections, (b) the bid

protections would “facilitate[],” rather than “hinder[],” the bidding process, and (c) the bid

protections are “reasonable in comparison to the size of” the contemplated transaction. ASARCO,

650 F.3d at 603.



                                                      55
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 56 of 70




       51.     Here, the Corrections Asset(s) Bid Protections satisfy the ASARCO factors. As for

the first factor, the Debtors would only offer the Corrections Asset(s) Bid Protections to the extent

that they believe, in the exercise of their business judgment and consistent with their fiduciary

duties (and in consultation with the Consultation Parties), that offering these protections would

enhance the ultimate recovery to be received by all stakeholders. In addition, the Corrections

Asset(s) Bid Protections are not being offered to an insider of the Debtors. Accordingly, there

should be no basis to conclude that any offer of Corrections Asset(s) Bid Protections might be

infected by manipulation or self-dealing.

       52.     Second, the Corrections Asset(s) Bid Protections facilitate the bidding and

marketing process. The Corrections Asset(s) Bid would enable the Debtors to secure an adequate

floor for the value of the Corrections Assets contemplated and ensure that competing bids be

materially higher or better than the Corrections Asset(s) Approved Stalking Horse Bid.

See ASARCO, 650 F.3d at 602 n.9 (noting that break-up fees “provide an incentive for an initial

bidder to serve as a so-called ‘stalking horse,’ whose initial research, due diligence, and subsequent

bid may encourage later bidders” (quotation omitted)); Official Comm. of Unsecured Creditors of

Walker Cty. Hosp. Corp. v. Walker Cty. Hosp. Dist. (In re Walker Cty. Hosp. Corp.), 3 F.4th 229,

231 n.2 (5th Cir. 2021) (same). A prospective Corrections Asset(s) Stalking Horse Bidder would

not likely agree to hold out its bid and act as a stalking horse without Court approval of the

Corrections Asset(s) Bid Protections; thus, the Debtors could risk losing out on the opportunity to

obtain the highest or otherwise best offer for the Corrections Assets and would certainly lose out

on the downside protection that a Corrections Asset(s) Approved Stalking Horse Bid would

provide.




                                                 56
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 57 of 70




       53.     Third, for the reasons set forth in the Tempke Declaration, the Corrections Asset(s)

Bid Protections are reasonable relative to the size, nature, and complexity of the contemplated

Corrections Asset(s) Sale Transaction(s), and particularly in light of the efforts that would

necessarily have been expended by a Corrections Asset(s) Stalking Horse Bidder. The Corrections

Asset(s) Bid Protections would make up only a small percentage of any reasonable price for the

Assets that a Corrections Asset(s) Stalking Horse Bidder might offer –the Corrections Asset(s)

Breakup Fee, for instance, would represent only three percent of the consideration that would be

offered by a Corrections Asset(s) Stalking Horse Bidder, and even then only of the cash portion of

such consideration.

III.   The Proposed Sale Transactions Satisfy the Requirements of Section 363 of the
       Bankruptcy Code.

       54.     Ample authority exists for approval of the potential Sale Transactions contemplated

by this Motion. Section 363(b)(1) of the Bankruptcy Code empowers the Court to allow a debtor

to “use, sell, or lease, other than in the ordinary course of business, property of the estate.”

11 U.S.C. § 363(b)(1). A debtor’s decision to use, sell, or lease assets outside the ordinary course

of business must be based upon the sound business judgment of the debtor. See, e.g., Int’l

Creditors of Cont’l Air Lines, Inc. v. Cont’l Air Lines, Inc. (In re Cont’l Air Lines, Inc.), 780 F.2d

1223, 1226 (5th Cir. 1986) (“[F]or the debtor-in-possession or trustee to satisfy its fiduciary duty

to the debtor, creditors and equity holders, there must be some articulated business justification for

using, selling, or leasing the property outside the ordinary course of business.”); In re Crutcher

Res. Corp., 72 B.R. 628, 631 (Bankr. N.D. Tex. 1987) (“A Bankruptcy Judge has considerable

discretion in approving a § 363(b) sale of property of the estate other than in the ordinary course

of business, but the movant must articulate some business justification for the sale . . . .”); In re

Cowin, No. 13-30984, 2014 WL 1168714, at *38 (Bankr. S.D. Tex. Mar. 21, 2014); In re St. Marie



                                                 57
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 58 of 70




Clinic PA, No. 10-70802, 2013 WL 5221055, at *9 (Bankr. S.D. Tex. Sept. 17, 2013); In re

Particle Drilling Techs., Inc., No. 09-33744, 2009 WL 2382030, at *2 (Bankr. S.D. Tex. July 29,

2009); In re San Jacinto Glass Indus., Inc., 93 B.R. 934, 944 (Bankr. S.D. Tex. 1988).

       55.     Courts emphasize that the business judgment rule is not an onerous standard that it

is instead “flexible and encourages discretion.” ASARCO, 650 F.3d at 601. “Great judicial

deference is given to the [debtor’s] exercise of business judgment.” GBL Holding Co., Inc. v.

Blackburn/Travis/Cole, Ltd. (In re State Park Bldg. Grp., Ltd.), 331 B.R. 251, 254 (N.D. Tex.

2005). A sound business justification for the sale of a debtor’s assets outside the ordinary course

of business exists where such sale is necessary to preserve the value of the estate for the benefit of

creditors and interest holders. See, e.g., In re Lionel Corp., 722 F.2d 1063 (2d Cir. 1983); Four B.

Corp. v. Food Barn Stores, Inc. (In re Food Barn Stores, Inc.), 107 F.3d 558, 566 n.16 (8th Cir.

1997) (recognizing the paramount goal of any proposed sale of property of estate is to maximize

value). As long as a transaction “appears to enhance a debtor’s estate, court approval of a debtor

in possession’s decision to [enter into the transaction] should only be withheld if the debtor’s

judgment is clearly erroneous, too speculative, or contrary to the Bankruptcy Code.” Richmond

Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir. 1985) (citation and internal

quotation marks omitted).

       56.     Moreover, section 105(a) of the Bankruptcy Code confers a bankruptcy court with

broad equitable powers to confer relief in alignment with bankruptcy policies. See United States

v. Sutton, 786 F.2d 1305, 1308 (5th Cir. 1986) (holding that section 105(a) of the Bankruptcy Code

authorizes bankruptcy courts to fashion equitable remedies “in a manner consistent with the

provisions of the Bankruptcy Code”); see also In re Young, 416 F. App’x 392, 398 (5th Cir. 2011)

(recognizing that “[s]ection 105(a) of Title 11 permits the bankruptcy court to exercise broad




                                                 58
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 59 of 70




authority”); In re Trevino, 599 B.R. 526, 542–43 (Bankr. S.D. Tex. 2019) (noting that the

bankruptcy court has “broad authority” under section 105(a) of the Bankruptcy Code); In re

Padilla, 379 B.R. 643, 667 (Bankr. S.D. Tex. 2007) (citations omitted) (“Section 105(a) gives

bankruptcy courts broad authority to take actions necessary and appropriate for administering and

enforcing the Bankruptcy Code and . . . ‘authorizes a bankruptcy court to fashion such orders as

are necessary to further the purposes of the substantive provisions of the Bankruptcy Code.’”).

             A. The Debtors Have Demonstrated a Sound Business Justification for the
                Potential Sale Transactions.

       57.      For the reasons set forth in the Tempke Declaration and the Schoenholtz

Declaration, a strong business justification exists for the sale of the Assets as described herein.

Exploring an orderly but expeditious sale of the Assets is critical to maximizing the value of the

Debtors’ estates and recoveries for the Debtors’ economic stakeholders. To that end, the RSA and

DIP Credit Agreement expressly require that the Debtors timely consummate a Recovery Solutions

/ Consolidated Sale Transaction by no later than January 9, 2025 and any Corrections Asset(s) Sale

Transaction by March 31, 2025. Additionally, the Debtors believe that any Sale Transaction

consummated in accordance with the Bidding Procedures would produce fair and reasonable

purchase prices for the Assets.

       58.      The Bidding Procedures were carefully designed to facilitate a flexible, robust, and

competitive bidding process. This is especially true where, as here, the Recovery Solutions Assets

have been subjected to an extensive prepetition and ongoing post-petition marketing process. The

Bidding Procedures provide an appropriate framework for the Debtors to review, analyze, and

compare all bids received to determine which Bids are in the best interests of the Debtors’ estates

and their economic stakeholders.        Any transaction governed by the Bidding Procedures




                                                 59
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 60 of 70




undoubtedly would serve the important objectives of obtaining a fair and reasonable purchase price

for the Assets, which would inure to the befit of all parties in interest in these chapter 11 cases.

       59.       Finally, nothing in the Bidding Procedures requires the Debtors’ board of directors

to take any action, or to refrain from taking any action, with respect to the Bidding Procedures, to

the extent that the Debtors’ board of directors determines that taking such action, or refraining

from taking such action, is required to comply with applicable law or its fiduciary duties under

applicable law, thereby allowing the Debtors to pivot to an alternative transaction.

       60.       For the foregoing reasons, the Debtors submit that a strong business justification

exists for approving the Sale Transactions and related relief requested herein.

             B. The Noticing Procedures Are Reasonable and Appropriate.

       61.       “[A] sale of assets under § 363 requires notice and a hearing and is subject to court

approval.” In re Moore, 608 F.3d 253, 262 (5th Cir. 2010). The Noticing Procedures described

above are reasonably calculated to provide all of the Debtors’ known relevant creditors and all

other parties in interest with adequate, timely notice of, among other things, the potential Sale

Transactions, Bidding Procedures, Auction, and Sale Hearing.

IV.    The Successful Bidders Should Be Entitled to the Protections of Section 363(m) of the
       Bankruptcy Code.

       62.       Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

is later reversed or modified on appeal. Specifically, section 363(m) of the Bankruptcy Code states

the following:

                 The reversal or modification on appeal of an authorization under
                 [section 363(b) of the Bankruptcy Code] . . . does not affect the
                 validity of a sale . . . to an entity that purchased . . . such property in
                 good faith, whether or not such entity knew of the pendency of the



                                                     60
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 61 of 70




               appeal, unless such authorization and such sale . . . were stayed
               pending appeal.

11 U.S.C. § 363(m). “The purpose of § 363(m)’s stay requirement is in furtherance of the policy

of not only affording finality to the judgment of the bankruptcy court, but particularly to give

finality to those orders and judgments upon which third parties rely.” In re TMT Procurement

Corp., 764 F.3d 512, 521 (5th Cir. 2014) (citation and internal quotation marks omitted). “Section

363(m) patently protects, from later modifications on appeal, an authorized sale where the

purchaser acted in good faith and the sale was not stayed pending appeal.” Matter of Gilchrist,

891 F.2d 559, 560 (5th Cir. 1990).

       63.     Although the Bankruptcy Code does not define “good faith,” the Fifth Circuit has

defined the term in two ways in the context of section 363(m) of the Bankruptcy Code. First, it

has “defined a ‘good faith purchaser’ as ‘one who purchases the assets for value, in good faith, and

without notice of adverse claims.’” TMT Procurement Corp., 764 F.3d at 521 (citations omitted).

Second, the Fifth Circuit has “noted that ‘the misconduct that would destroy a purchaser’s good

faith status . . . involves fraud, collusion between the purchaser and other bidders or the trustee, or

an attempt to take grossly unfair advantage of other bidders.’” Id. (citations omitted).

       64.     The Debtors submit that each Successful Bidder would be a “good faith purchaser”

within the meaning of section 363(m) of the Bankruptcy Code. The Debtors have engaged

independent, sophisticated counsel and other professional advisors to represent their interests with

respect to the sale process and, to the best of the Debtors’ knowledge, information, and belief, no

party has engaged in any conduct that would cause or permit a Sale Transaction to be set aside

under section 363(m) of the Bankruptcy Code.

       65.     Further, as set forth above, the Bidding Procedures are designed to produce a fair

and transparent competitive bidding process. Each Qualified Bidder participating in the Auction



                                                  61
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 62 of 70




must confirm on the record that it has not engaged in any collusion with respect to the bidding or

the sale of any of the Assets. See Bidding Procedures § V.N. The Recovery Solutions Stalking

Horse Agreement was negotiated at arm’s-length and in good faith, and any asset purchase

agreement with a Successful Bidder for any of the Corrections Assets executed by the Debtors

would also be negotiated at arm’s-length and in good faith. Accordingly, the Debtors seek a

finding that any Successful Bidder under the Bidding Procedures is a good faith purchaser and is

entitled to the full protections afforded by section 363(m) of the Bankruptcy Code.

       66.     Based on the foregoing, the Debtors submit that the Debtors’ entrance into a Sale

Transaction pursuant to the Bidding Procedures is a sound exercise of the Debtors’ business

judgment and should be approved as a good faith transaction.

 V.    The Assets Should be Sold Free and Clear of Liens, Claims, Interests, and
       Encumbrances Under Section 363(f) of the Bankruptcy Code.

       67.     In the interest of attracting the best offers, the Court should authorize the sale of the

Assets free and clear of any and all liens, claims, interests, and other encumbrances, in accordance

with section 363(f) of the Bankruptcy Code, with any such liens, claims, interests, and

encumbrances attaching to the proceeds of the applicable sale. Section 363(f) of the Bankruptcy

Code authorizes a debtor to sell assets free and clear of liens, claims, interests, and encumbrances

of an entity other than the estate if any one of the following conditions is satisfied:

               a.      applicable non-bankruptcy law permits sale of such property free and clear
                       of such interest;

               b.      such entity consents;

               c.      such interest is a lien and the price at which such property is to be sold is
                       greater than the value of all liens on such property;

               d.      such interest is in bona fide dispute; or

               e.      such entity could be compelled, in a legal or equitable proceeding, to
                       accept a money satisfaction of such interest.


                                                  62
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 63 of 70




11 U.S.C. § 363(f); see also In re Patriot Place, Ltd., 486 B.R. 773, 814 (Bankr. W.D. Tex. 2013)

(“Section 363(f) of the Bankruptcy Code sets forth five alternative conditions that must be satisfied

by the Court to authorize a debtor . . . to sell its property . . . free and clear of interests of a third

party.”).

        68.     Section 363(f) of the Bankruptcy Code is supplemented by section 105(a) of the

Bankruptcy Code, which provides that “[t]he Court may issue any order, process or judgment that

is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. §

105(a); see also Volvo White Truck Corp. v. Chambersburg Beverage, Inc. (In re White Motor

Credit Corp.), 75 B.R. 944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct such sales [free

and clear of claims] is within the court’s equitable powers when necessary to carry out the

provisions of [the Bankruptcy Code].”).

        69.     The Debtors submit that any sale of the Assets free and clear of liens, claims,

interests, and encumbrances would satisfy one or more of the requirements under section 363(f)

of the Bankruptcy Code. For example, to the extent that a party objects to a Sale Transaction on

the basis that it allegedly holds a prepetition lien or encumbrance on the applicable Assets, the

Debtors believe that any such party could be compelled to accept a monetary satisfaction of such

claims, under section 363(f)(5) of the Bankruptcy Code, or that such lien is in bona fide dispute,

under section 363(f)(4) of the Bankruptcy Code.

        70.     Moreover, the Debtors have sent or will send the Sale Notice to any purported

prepetition lienholders. If such lienholders do not object to the proposed Sale Transaction, then

their consent should be presumed. Accordingly, the Debtors request that, unless a party asserting

a prepetition lien, claim, interest, or encumbrance on any of the Assets (other than those assumed

or permitted, if any, in connection with a Sale Transaction) timely and properly objects to this




                                                   63
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 64 of 70




Motion, such party shall be deemed to have consented to any Sale Transaction approved at the

Sale Hearing. See Hargrave v. Twp. of Pemberton, 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (by

not objecting to a sale motion, a creditor is deemed to consent to the relief requested therein).

        71.     The purpose of a sale order purporting to authorize the transfer of assets free and

clear of all claims, liens, interests, and encumbrances would be defeated if claimants could

thereafter use the transfer as a basis to assert claims against a purchaser arising from a seller’s pre-

sale conduct. Moreover, without such assurances, potential bidders may choose not to participate

in the Auction, to the detriment of the Debtors’ economic stakeholders. Accordingly, the Debtors

request that the Court authorize the sale of the Assets free and clear of any liens, claims, interests,

and encumbrances in accordance with section 363(f) of the Bankruptcy Code, subject to such liens,

claims, interests, and encumbrances attaching to the proceeds thereof in the same order of relative

priority and with the same validity, force, and effect as prior to such sale.

VI.     The Assumption and Assignment of Executory Contracts and Unexpired Leases
        Should Be Authorized.

        72.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession,

“subject to the court’s approval, may assume or reject any executory contract or unexpired lease

of the debtor.” 11 U.S.C. § 365(a). The decision to assume or reject an unexpired lease is a matter

within the “business judgment” of the debtor. Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp.

(In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989). “As long as assumption of a lease

appears to enhance a debtor’s estate, court approval of a debtor-in-possession’s decision to assume

the lease should only be withheld if the debtor’s judgment is clearly erroneous, too speculative, or

contrary to the provisions of the Bankruptcy Code.” Richmond Leasing Co., 762 F.2d at 1309

(citation and internal quotation marks omitted).




                                                   64
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 65 of 70




       73.     Any assumption of the Proposed Assumed Contracts is an exercise of the Debtors’

sound business judgment because the transfer of such Contract is necessary to the Debtors’ ability

to obtain the best value for their Assets. The assumption and assignment of Proposed Assumed

Contracts is a critical element of the value of the Assets. Given that the ability to consummate an

agreed Sale Transaction is critical to the Debtors’ efforts to maximize value for their estates and

stakeholders, the Debtors’ assumption of Proposed Assumed Contracts is an exercise of sound

business judgment and, therefore, should be approved.

       74.     The consummation of any Sale Transaction involving the assignment of a Proposed

Assumed Contract would be contingent upon the Debtors’ compliance with the applicable

requirements of section 365 of the Bankruptcy Code. Section 365(b)(1) of the Bankruptcy Code

requires that any outstanding defaults under the Contracts to be assumed be cured and that the

Debtors provide adequate assurance that such defaults would be promptly cured. The Debtors’

assumption and assignment of Proposed Assumed Contracts would be contingent upon payment

of the Cure Costs and effective only upon the closing of an applicable Sale Transaction or any later

applicable effective date. As set forth above, the Debtors propose to file with the Court and serve

on each Counterparty a Potential Assumption and Assignment Notice, which would set forth the

Debtors’ good faith calculations of Cure Costs with respect to each Contract listed on the Potential

Assumed Contracts Schedule. As a result, Counterparties would have a meaningful opportunity

to raise any objections to the proposed assumption of their respective Contracts in advance of the

applicable Sale Hearing.

       75.     Pursuant to section 365(f)(2) of the Bankruptcy Code, a debtor may assign an

executory contract if “adequate assurance of future performance by the assignee of such contract

or lease is provided.” The meaning of “adequate assurance of future performance” depends on the




                                                65
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 66 of 70




facts and circumstances of each case, but should be given “practical, pragmatic construction.” In

re Tex. Health Enters., Inc., 246 B.R. 832, 834 (Bankr. E.D. Tex. 2000) (citation and internal

quotation marks omitted). “Assurance of future performance is adequate if performance is likely

(i.e. more probable than not) and the degree of assurance necessary to be deemed adequate falls

considerably short of an absolute guaranty.” In re PRK Enters., Inc., 235 B.R. 597, 603 (Bankr.

E.D. Tex. 1999). “Some helpful factors include ‘whether the debtor’s financial data indicated its

ability to generate an income stream sufficient to meet its obligations, the general economic

outlook in the debtor’s industry, and the presence of a guarantee.’” In re Tex. Health Enters. Inc.,

72 F. App’x 122, 126 (5th Cir. 2003) (citation omitted).

       76.     As set forth above and in the Bidding Procedures, for a Bid to qualify as a Qualified

Bid, a Potential Bidder must include with its Bid information regarding its ability (and the ability

of its designated assignee, if applicable) to perform under applicable Proposed Assumed Contracts.

Each affected Counterparty would have an opportunity to object to the ability of a Successful

Bidder to provide adequate assurance as provided in the Bidding Procedures Order. Further, the

Debtors propose to file with the Court a Proposed Assumption and Assignment Notice, which

would set forth a list of the Proposed Assumed Contracts, in advance of the Sale Hearing. To the

extent necessary, the Debtors would present facts at the Sale Hearing to demonstrate the financial

wherewithal, willingness, and ability of each Successful Bidder to perform under the Proposed

Assumed Contracts.

       77.     In addition, to facilitate the assumption and assignment of Proposed Assumed

Contracts, the Debtors further request that the Court find that all anti-assignment provisions

contained therein, whether such provisions expressly prohibit or have the effect of restricting or




                                                66
         Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 67 of 70




limiting assignment of such Assumed Contract, are unenforceable and prohibited pursuant to

section 365(f) of the Bankruptcy Code. 10

                                            Emergency Consideration

         78.       Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this Motion. As set forth in this Motion, the Tempke Declaration, and

the Schoenholtz Declaration, the Debtors believe that continuing a sale process pursuant to the

Bidding Procedures, and in accordance with the milestones under the RSA and DIP Credit

Agreements, will maximize the value of the Assets for the benefit of all stakeholders. Accordingly,

shortening notice of this Motion is warranted.

     Compliance with Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

         79.       To implement successfully the relief sought herein, the Debtors request that the

Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that, to the extent applicable to the relief requested in

this Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that

“[a]n order authorizing the use, sale, or lease of property other than cash collateral is stayed until

the expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

P. 6004(h). The Debtors further request that the Court waive the stay imposed by Bankruptcy Rule

6006(d), which provides that an “order authorizing the trustee to assign an executory contract or




10
     Section 365(f)(1) of the Bankruptcy Code provides in part that, “notwithstanding a provision in an executory
     contract or unexpired lease of the debtor, or in applicable law, that prohibits, restricts, or conditions the assignment
     of such contract or lease, the trustee may assign such contract or lease . . . .” 11 U.S.C. § 365(f)(1). Section
     365(f)(3) of the Bankruptcy Code further provides that, “[n]otwithstanding a provision in an executory contract
     or unexpired lease of the debtor, or in applicable law that terminates or modifies, or permits a party other than the
     debtor to terminate or modify, such contract or lease or a right or obligation under such contract or lease on
     account of an assignment of such contract or lease, such contract, lease, right, or obligation may not be terminated
     or modified under such provision because of the assumption or assignment of such contract or lease by the
     trustee.” 11 U.S.C. § 365(f)(3).



                                                            67
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 68 of 70




unexpired lease under section 365(f) is stayed until the expiration of 14 days after the entry of the

order, unless the court orders otherwise.” Fed. R. Bankr. P. 6006(d).

       80.     As described above, The Debtors have already commenced the marketing and sale

process to maximize value for their estates and stakeholders. Accordingly, the Debtors request

that the Bidding Procedures Order, any Sale Order, and any order authorizing the assumption and

assignment of a Proposed Assumed Contract in connection with a Sale Transaction be effective

immediately upon entry and that the 14-day stay imposed by Bankruptcy Rules 6004(h) and

6006(d) be waived.

                                              Notice

       81.     Notice of this Motion will be provided to the following parties or their respective

counsel: (a) the U.S. Trustee; (b) the holders of the 30 largest unsecured claims against the Debtors

(on a consolidated basis); (c) counsel to the DIP Lenders; (d) counsel to the Ad Hoc Group;

(e) counsel to the Prepetition First Lien Administrative Agent; (f) counsel to the Prepetition

Second Lien Administrative Agent; (g) the Office of the United States Attorney for the Southern

District of Texas; (h) the state attorneys general for states in which the Debtors conduct business;

(i) the Internal Revenue Service; (j) the Securities and Exchange Commission; and (k) any party

identified in section E of the Procedures for Complex Cases in the Southern District of Texas

(collectively, the “Notice Parties”). A copy of this Motion and the Bidding Procedures Order

approving it will also be made available on the Case Information Website located at

https://dm.epiq11.com/Wellpath. Based on the urgency of the circumstances surrounding this

Motion and the nature of the relief requested, the Debtors respectfully submit that no other or

further notice is required.




                                                 68
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 69 of 70




       WHEREFORE, the Debtors respectfully request that the Court enter the Bidding

Procedures Order, substantially in the form annexed hereto, and the Sale Order granting the relief

requested herein and such other and further relief as the Court deems appropriate under the

circumstances.

 Dated: November 12, 2024         /s/ Marcus A. Helt
 Dallas, Texas                    Marcus A. Helt (Texas Bar #24052187)
                                  MCDERMOTT WILL & EMERY LLP
                                  2501 N. Harwood Street, Suite 1900
                                  Dallas, Texas 75201-1664
                                  Telephone:     (214) 295-8000
                                  Facsimile:     (972) 232-3098
                                  Email:         mhelt@mwe.com

                                  -and-

                                  Felicia Gerber Perlman (pro hac vice admission pending)
                                  Bradley Thomas Giordano (pro hac vice admission pending)
                                  Jake Jumbeck (pro hac vice admission pending)
                                  Carole Wurzelbacher (pro hac vice admission pending)
                                  Carmen Dingman (pro hac vice admission pending)
                                  MCDERMOTT WILL & EMERY LLP
                                  444 West Lake Street, Suite 4000
                                  Chicago, Illinois 60606-0029
                                  Telephone:     (312) 372-2000
                                  Facsimile:     (312) 984-7700
                                  Email:         fperlman@mwe.com
                                                 bgiordano@mwe.com
                                                 jjumbeck@mwe.com
                                                 cwurzelbacher@mwe.com
                                                 cdingman@mwe.com
                                  -and-

                                  Steven Z. Szanzer (pro hac vice admission pending)
                                  MCDERMOTT WILL & EMERY LLP
                                  One Vanderbilt Avenue
                                  New York, New York 10017
                                  Telephone:    (212) 547-5400
                                  Facsimile:    (212) 547-5444
                                  Email:        sszanzer@mwe.com


                                  Proposed Counsel to the Debtors and Debtors in Possession


                                               69
       Case 24-90533 Document 21 Filed in TXSB on 11/12/24 Page 70 of 70




                                     Certificate of Accuracy

        I certify that the facts and circumstances described in the above pleading giving rise to the
emergency request for relief are true and accurate to the best of my knowledge, information, and
belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                              /s/ Marcus A. Helt
                                              Marcus A. Helt


                                      Certificate of Service

       I certify that, on November 12, 2024, I caused a copy of the foregoing document to be
served via the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                              /s/ Marcus A. Helt
                                              Marcus A. Helt
